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               EXHIBIT I
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                                                                                  OTC Code:3227




                          PixArt Imaging Inc


        2012 Annual Report (TRANSLATION)




         Taiwan Stock Exchange Market Observation Post System: http://newmops.twse.com.tw
         PixArt annual report is available at http://www.pixart.com.tw




                                  Printed on May 07, 2013




Notice to Readers:
The reader is advised that the annual report has been prepared originally in Chinese. The English
version is directly translated from Chinese version.
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I、Spokesperson：
   Name：Mei-Wei Lo
   Title:：Chief Finance Officer
   TEL：886-3-579-5317
   E-mail：ir@pixart.com.tw

II、Deputy Spokesperson：
   Name：Stella Tsai
   Title:：Deputy Manager, Finance & Accounting Dept.
   TEL：886-3-579-5317
   E-mail：ir@pixart.com.tw

III、PixArt Imaging Inc. Address & Telephone Number：
    Headquarters Address：5F, No.5, Innovation Road I, Hsinchu Science Park, Taiwan,
    R.O.C. 300
    TEL：886-3-579-5317

IV、Securities Dealing Institute:
   Company Name：Horizon Securities Co., LTD.
   Address：3F, No.236, Sec. 4, Xinyi Rd, Taipei, Taiwan, R.O.C.
   TEL：886-2-2326-8818
   Website：www.honsec.com.tw

V、Names of Independent Auditors for Financial Statements in Recent Years, Their Office
  Name, Address, Website and Telephone Number：
   Office：Ernst & Young
   Names：Jia-Ling Tu、Chin-Lai Wang
   Address：9F, No.333, Keelung Road, Sec. 1, Taipei, Taiwan, R.O.C.
   TEL：886-2-2720-4000
   Website：www.ey.com/tw

VI、Name of Overseas Securities Dealers and Methods to Inquire
   about Overseas Securities：Nill

VII、PixArt Website：www.pixart.com.tw
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                            I.     Letter to Shareholders
    PixArt Imaging Inc. posted total revenue of NT$3.3 billion in 2012, a 2.7% increase from
2011 (NT$3.22 billion). The net income decreased by 43.6% to NT$280 million from NT$497
million in 2011. Earnings per share was NT$2.2 in 2012 while return on equity was 5.0%.
     The personal computer and computer mouse market experienced a decline in 2012 against
2011 as a result of the economic downturn and the increasing popularity of tablet computers and
smart phones. In spite of a decline in the overall business, the Company was able to gain additional
market share due to the departure of some competitors that were unable to sustain competition. As
a result, sales for computer mouse products on the contrary have grown by 25% against the
previous year. As for games, the overall revenue experienced a decline against the previous year in
spite of the official launch of new-generation products. Due to the launch of new optical touch
products which are currently being authenticated for operation under Windows 8, the sales for
existing optical touch products showed a slow-down and as a result, revenue from the optical touch
business declined against 2011. In general, the Company experienced only a modest growth in the
overall revenue against 2011 due to the growth in the computer mouse products business being
offset by the decline in the games and optical touch businesses. However, our profit margin has
improved from 38.4% to 41.7% as a result of our effort in reducing costs and improving our asset
portfolios. In response to the increase in our market share for the computer mouse market and to
accelerate the launch of new products, we have expanded the R & D team in Taiwan as well as
establishing business presence in Malaysia and the United States. As a result of our business
expansion, our operating expenditure saw a significant increase against 2011, resulting in poorer
profitability. We have maintained our pace in product and technological developments in spite of
the less-than-expected profit performance. Besides launching new computer mouse and optical
touch products, we have also launched several new man-machine interface products including touch
control, ambient light sensor and capacitive touch and distance sensing devices. We expect these
new products to fuel our business growth and hence improve our profitability.

     The global economy is on the path of slow recovery based on recent economic statistics.
However, we need to act with caution due to instabilities in the overall environment. We do not
anticipate a bright outlook for the personal computer market but we trust that the computer mouse
market will experience relatively sound growth. The games market is purely dependent on our
clients’ sales performance, which we hope are able to pick up the momentum soon. We also
expect that the dedication of our entire team in the development of several new products may
come to fruition this year with the official launch of the new products, which we hope are able to
boost sales and profitability. We are committed to developing several man-machine interface
products. We trust that there are abundant business opportunities for the new product market. This
year, we will continue to devote our resources to the research and development of products and
technology, improving customer satisfaction, reducing costs of production, and seamlessly
integrating our resources to benefit the overall business and improve the Company’s management
efficiency. We will persist in our business approach and welcome any challenges with a steadfast
attitude with the optimal goal of improving our competitiveness and operating performance. We
hope our business will resume growth this year and we hope to maximize and returns and wealth
of our shareholders.
   We would like to thank the shareholders for their continued support and good will. We wish
them continued health and happiness!


                                                                Chairman         Sen-Huang Huang




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                                     II. Company Profile
1.Date incorporated
    Jul 13, 1998
2.Milestones
    J u l . 1 9 9 8 Company was founded with a registered capital NTD 500 million
    Apr. 199 9 Acquired 100% ownership of Condorvision Technology, Inc. (renamed to PixArt Technology,
                    Inc. later), an U.S. company specializing in CMOS Sensor design.
    May. 1999 Obtained the permission to enter into Hsinchu Science Park from the Science-Based Industrial
                    Park Administration.
    J u l . 1 9 9 9 Received grant for "Minimized CMOS Image Sensor Product Development" from the Small
                    Enterprises R&D Project of Industrial Development Bureau of Ministry of Economic Affairs.
    J u l . 2 0 0 0 Successfully developed 0.35μm color/mono CIF Sensor.
    J a n . 2 0 0 1 Successfully developed 0.35μm color/mono VGA Sensor.
    Apr. 200 1 Successfully developed ultra-low power color/mono QQVGA
    Nov. 2001 Received ISO9001:2000 certification with total quality system installation in place.
    Dec. 2001 Successfully developed color/mono QQVGA with Twin-Turbo 8032 SOC chip.
    Mar. 2002 Successfully developed the wired and wireless optical mouse chips.
    Apr. 200 2 Successfully developed 0.25μm 1.3 M pixel CMOS Image Sensor.
    O c t . 2 0 0 2 Stocks issued publicly.
    Apr. 200 3 Successfully developed CIF PC-Camera SOC IC.
    J u l . 2 0 0 3 Elected two Independent Directors and one Independent Supervisor
    J u l . 2 0 0 3 "QQVGA Sensor with Twin-TURB 08032 Micro Processor" received The Sixth Outstanding
                    Photonics Award.
    J u l . 2 0 0 3 Listed as Emerging Stock on Gretai stock market, under the ticker of 3227.
    Aug. 2003 Successfully developed 0.25μm color/mono CSP VGA Sensor.
    S e p . 2 0 0 3 Successfully developed high-performance optical mouse chip.
    F e b . 2 0 0 4 Successfully developed 0.25μm 480*640 VGA Sensor
    F e b . 2 0 0 4 Successfully developed0.25μm VGA YUV Sensor.
    Apr. 200 4 Successfully developed PS2 optical mouse SOC chip.
    J u l . 2 0 0 4 Successfully developed 0.18um, 1/3 inch, 1.3M pixel & 0.25um, 1/2 inch, 2.1M pixel CMOS
                    Image Sensor chips
    J u l . 2 0 0 4 Successfully developed VGA PC-Camera SOC chip.
    S e p . 2 0 0 4 Successfully developed USB optical mouse SOC chip.
    S e p . 2 0 0 4 Successfully developed 0.18μm 1/3 inch, 3M pixel CMOS Image Sensor for camera phone
                    devices.
    N o v . 2 0 0 4 Awarded "The 2004 R&D Accomplishment Award" by the Science-Based Industrial Park
                    Administration.
    J a n . 2 0 0 5 Awarded "The 3rd Annual Golden Root Award" by Taiwan Industrial Technology Association.
    J a n . 2 0 0 5 Successfully developed multi-objects tracing chip for game platform application.
    J a n . 2 0 0 5 Successfully developed VGA DSP chip for mobile phone application.
    F e b . 2 0 0 5 Successfully developed PixArt’s first laser mouse chip.
    Mar. 2005 Successfully developed 1.3M pixel DSP chip for mobile phone application.
    J u n . 2 0 0 5 Awarded "The Eighth Outstanding Photonics Product Award" for 1/3 inch 3M pixel CMOS
                    Image Sensor for mobile phone application.
    J u n . 2 0 0 5 Exclusively licensed for high-technology laser optical mouse and image tracing technology by
                    OPDI, Denmark.

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Dec. 2005 Awarded "The 12th Small & Medium Enterprises Innovation Award" for composite audio and
                video multimedia PC-Cam SOC IC by Ministry of Economic Affairs, R.O.C.
Mar. 2006 Introduced customized multi-objects tracing chip for Nintendo Wii.
May. 2006 Listed on GreTai security market, under the ticker of 3227.
J u n . 2 0 0 6 Introduced 4T 0.3M CMOS Image Sensor. Successfully upgrade to 4T technology.
J u l . 2 0 0 6 Shipping over 100 million pieces of optical mouse chip.
J u l . 2 0 0 6 Concluded patent license agreement with Avago with respect to optical mouse related patents.
S e p . 2 0 0 6 Awarded "The 14th Industrial Technology Advancement Award-Excellent Enterprise".
Dec. 2006 Received Certificate of Green Product Management System.
Mar. 2007 Introduced 4T 2M CMOS Image Sensor.
Mar. 2007 Introduced 0.18μm VGA PC-Cam SOC with built-in microphone.
Aug. 2007 Introduced PC-Cam USB 2.0 Controller.
O c t . 2 0 0 7 Awarded "R&D Accomplishment Award 2007" by the Science-Based Industrial Park
                Administration.
O c t . 2 0 0 7 Introduced 2M pixels DSP chip with Audio/Video codec for mobile phone application.
Dec. 2007 Accumulated sold optical mouse chips reached 200 million units.
F e b . 2 0 0 8 Introduced small-form-factor Laser mouse.
Mar. 2008 introduced small-form-factor USB/PS2 Laser mouse SOC.
Apr. 200 8 Introduced optical gaming mouse.
J u l . 2 0 0 8 Mass production of NB Camera Sensor IC.
S e p . 2 0 0 8 Introduced LED gaming mouse.
S e p . 2 0 0 8 Introduced Optical Finger Mouse.
Jun 2009 Introduced Optical Touch Sensor for Quanta Computer.
Jun 2009 Licensed for patented touch technology from SMART Technologies.
Jun 2009 Cooperation with customer on developing Distance Measure Sensor technology.
J u l 2 0 0 9 Introduced IR LED power-saving wireless mouse device
Dec 2009 Successfully developed Human Sensing Device.
M a r 2 0 1 0 Introduced laser wireless mouse sensor with built-in charge pumper
M a y 2 0 1 0 Received encouragement grants for MEMS related R&D Project from New Leading
                Development Product Funds granted by Industrial Development Bureau
Dec. 2010 Achieved 1000 of the accumulated patent filing number
J u n . 2 0 1 1 Introduced integrated mouse senor with micro package technology
Aug. 2011 Introduced wireless mouse sensor with low power (<1.5mA)
S e p . 2 0 1 1 Introduced an optical module utilized in gaming console
Nov. 2011 Awarded “The 1st Golden Laurel Awards – Best return on equity” by GTSM
J a n . 2 0 1 2 Rank 34th for 2011 invention patent filing number among domestic corporations/organizations
                Rank 50th for 2011 patent filing number among domestic corporations/organizations
J u n . 2 0 1 2 Introduced compact gesture recognition IC, supporting various gestures.
Dec. 2012 Received encouragement grants for Health Care related R&D Project from New Leading
                Development Product Funds granted by Industrial Development Bureau.
Dec. 2012 Year 2012 sold optical mouse chips reached 200 million units.
Dec. 2012 Introduced compact wireless mouse sensor with ultra-low power (<1mA)
J a n . 2 0 1 3 Ranking 20th for 2012 invention patent filing number among domestic
                corporations/organizations
                Ranking 29th for 2012 patent filing number among domestic corporations/organizations




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                             III. Corporate Governance
1. Organization
    (1)Organization Chart:




                                   Shareholders’ Meeting



                                                                     Audit
                                                                   Commitee

                                    Board of Directors


                                                                 Internal Auditor



                                   Chairman & President




    Manufacture        R&D                Sales &                Finance &             Administration
    Engineering                        Marketing Div.         Accounting Dept.            Dept.




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   (2)Business of Key Departments：
         Department                                    Business
                          a. Plan the Company’s business operations and all related matters
                          b. Plan the Company’s product development and all related
                             matters, such as execution and coordination
         Chairman &
                          c. Oversee business operations from all departments and
           President
                             coordinate resource allocation for each department
                          d. Responsible for legal matters, patent filing and management
                          e. Responsible for IT system maintenance and management
                          a. Responsible for problems related to product engineering
                          b. Responsible for matters related to manufacturing outsourcing
         Manufacture      c. Collect and analyze data on quality
         Engineering      d. Handle customer complaints
                          e. Implement and ensure quality control
                          f. Shipment management
                          a. Responsible for new product and technology developments
                          b. Responsible for ASIC product design an development for
            R&D
                             customers
                          c. Responsible for CAD and layout process for product design
                          a. Product marketing and market development
      Sales & Marketing b. Marketing strategy and planning
             Div.         c. Gather market information
                          d. Handle customer complaints
                          a. Accounting and budget management
          Finance &       b. Fund management
      Accounting Dept. c. Tax-related issues
                          d. Stock-related affairs
                          a. Stipulate policies and procedures for human resources
                          b. General procurement and general affairs.
     Administration Dept.
                          c. Employee training and recruitment
                          d. Employee welfare management
                          a. Responsible for inspecting and evaluating the reliability and
                             effectiveness of the Company’s data on business operations
       Internal Auditor      and internal control
                          b. Make suggestions for improvement for the betterment of
                             business operations




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2. Directors and Supervisors and Officials：
   (1)Profiles of Directors and Supervisors
     a. Director and Supervisors’ information table
                                                                                                                                                                                                                                                   Apr. 26, 2013 / Unit: Share
                                                                                                                                                                                                                                                                 Other executives,
                                                                                                                                                Shareholding
                                                                                                                            Spouse and                                                                                                                              directors or
                                                                                                                                                    under
                                                                          Shareholding when                                  underage                                                                                                                           supervisors who are
                                                                                                  Current shareholding                          the names of
                                                                               elected                                       children                                                                                                                            spouse or relative
                                                                                                                                                other parties
                                                                                                                           shareholding                                                                                  Other positions in the                  within the second
                                             Date            Date first                                                                                                         Education and                                                                    degree of kinship
          Title            Name                       Term                                                                                                                                                               Company and in other
                                            elected           elected                                                                                                            experience
                                                                                                                                                                                                                              companies




                                                                                                                                                                                                                                                                               Relation
                                                                             shares




                                                                                                      shares




                                                                                                                           shares




                                                                                                                                                 shares




                                                                                                                                                                                                                                                                        Name
                                                                                                                                                                                                                                                                Title
                                                                                          %




                                                                                                                   %




                                                                                                                                        %




                                                                                                                                                              %
                                                                                                                                                                                                               -President, PixArt
                                                                                                                                                                   -BS, Electronic Engineering, National       -Chairman of Yuan Xiang Investment Corp
        Chairman     Sen-Huang Huang      2011 06 15 3 yrs 1998 07 02     1,918,686       1 48%    1,733,777       1 29%                                  -       - Taiwan University                          -Chairman of Yuan-Feng Investment Corp            -       -       -
                                                                                                                                                                   -Director of MFG Div , UMC                  -Chairman of PrimeSensor Technology Inc
                                                                                                                                                                                                               -Chairman of Yuan Yao Technology Inc
                                                                                                                                                                      -MBA, The city University of the New
        Director     Victor Hsu           2011 06 15 3 yrs 2008 06 13                 -       -                -       -            -       -             -       - York,USA                                   -Manager of Finance Div, Unimicron                -       -       -
                                                                                                                                                                      - Manager of Finance Div , UMC
        Company
       represented   Unimicron
                                          2011 06 15 3 yrs 2008 06 13     1,550,716       1 19%    1,372,116       1 02%            -       -             -       -                      -                                            -                          -       -       -
        by Victor    Technology Corp
           Hsu
                                                                                                                                                                                                            -Chairman of Ying Jiu EnterpriseCorp and
       Independent                                                                                                                                                  -BS, Chemical Engineering, Chinese
         Director    Ming-De Li           2011 06 15 3 yrs 2005 06 27                 -       -                -       -   51,508 0 04%                   -       -
                                                                                                                                                                     Culture University
                                                                                                                                                                                                            YingTong Enterprise Corp                             -       -       -
                                                                                                                                                                                                            -Director of YingFa Industrial Corp
                                                                                                                                                                                                            -CFO, KYEC
                                                                                                                                                                                                            -Independent director of IC Plus Corp
                                                                                                                                                                    -MBA, Southern New Hampshire University - Independent director of Subtron Technology Corp
       Independent
         Director  Chun Kuan              2011 06 15 3 yrs 2008 06 13                 -       -                -       -            -       -             -       - -Director of Finance Div, UMC           -Independent director of ITE Tech Inc                -       -       -
                                                                                                                                                                    -Director of Finance Div, AUO           -Chairman of Yung Li Investment Corp
                                                                                                                                                                                                            -Director of Silicon Integrated Systems Corp
                                                                                                                                                                                                            -Supervisor of Materials Analysis Technology Inc
                                                                                                                                                                    -BS, Electronic Engineering, National
       Independent Wen-Chin       Cheng                                                                                                                               Taiwan University
         Director  (Note1)
                                          2011 06 15 3 yrs 2003 06 19                                                                                                                                       -CTO and Director of Lumens Digital Optics Inc       -       -       -
                                                                                                                                                                    -MS, Electronic Engineering, National
                                                                                                                                                                      Taiwan University
       Note1：Wen-Chin Cheng was appointed a director of the Company during June 19, 2003 to June 27, 2005.
       Note2：Current shareholding % is calculated based on 134,628,504 issued shares
       Note3：The Company has set an Audit Committee; therefore, Supervisor is not available




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b. Major shareholders of PixArt’s director or supervisor that is a juristic person shareholder
                                                                                           Apr.26, 2013
     Director or Supervisor      Major Shareholder of the Director or Supervisor      Shareholding (%)
   Fortune Venture Capital
                               United Microelectronics Corp.                             100.00%
   Corp.
   Unimicron Technology        United Microelectronics Corp.                              12.75%
   Corp.                       Cathay Life Insurance Co.,Ltd.                             8.58%
    (The shareholdings are     Siliconware Precision Industries Co., Ltd                  4.97%
    as of Aug. 8, 2012)        Lab Insurance Fund                                         4.08%
                               Nanshan Life Insurance Co.,Ltd.                            2.83%
                               Chunghwa Post Co., Ltd                                     2.18%
                               Fubon Life Issurance Co., Ltd.                             1.96%
                               Labor Pension Fund (New System)                             1.86%
                               Public Service Pension Fund                                1.82%
                               Investment account of overseas fund A                      1.60%

   Major shareholders of director’s or supervisor’s major shareholder that is a juristic person

              Name                             Major Shareholders                      Shareholding %
    United Microelectronics   JPMorgan Chase Bank, as representative of holders
                                                                                           8.87%
    Corp.                     of the ADRs
      (The shareholdings are  Hsun Chieh Investment Co., Ltd.                              3.41%
     as of Jul. 15, 2012)     Silicon Integrated Systems Corp.                             2.44%
                              Investment account of overseas fund B                        2.12%
                              Cathay Life Insurance Co.,Ltd.                               1.33%
                              Investment account of overseas fund C                        1.14%
                              Nanshan Life Insurance Co.,Ltd.                              1.05%
                              Investment account of overseas fund D                        0.97%
                              Investment account of overseas fund E                        0.96%
                              Trustee account of JP Morgan Chase Bank-ABP
                                                                                           0.89%
                              Pension Fund Investment
    Siliconware Precision     Citibank in Custody for American Depositary
                                                                                          11.90%
    Industries Co.,Ltd.       Receipts of Siliconware Precision Industries Co.,Ltd.
      (The shareholdings are Investment account of overseas fund F                         5.58%
         as of Jul. 22, 2012) Cathay Life Insurance Co.,Ltd.                               3.94%
                              Shin Kong Life Insurance Co., Ltd                            2.33%
                              Bough Lin                                                    2.20%
                              JPMorgan in custody for Capital World Growth
                                                                                           2.14%
                              and Income Fund Ltd.
                              Chunghwa Post Co.,Ltd.                                       2.00%
                              Ku Ming Investment Co., Ltd                                  1.80%
                              Investment account of overseas fund G                        1.75%
                              Investment account of overseas fund H                        1.74%




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c.Directors and Supervisors’ Professional Qualifications and Independence Analysis：
     Qualifications   With five or more years of experience and the
                          following professional qualifications                           Independence Status (Note 2)
                                                                                                                                 Number of
                                                                                                                                 Companies


                      college or above
                      activity in a junior
                      related to company
                      or other subject
                      finance, accounting
                      of business, law,
                      Fields or above
                      Lecturer
                      Business Related
                      in Corporate
                      Examination
                      National
                      Technician of
                      Specialist or
                      Attorney, CPA,
                      Justice, Procurator,
                      Qualification of

                                                           company activity
                                                           or others related to
                                                           finance, accounting
                                                           business, law,
                                                           Work experience in
                                                                                                                                 also Serves
                                                                                                                                      as
                                                                                  1   2   3    4    5     6    7    8    9   10 Independent
                                                                                                                                   Director
                                                                                                                                     for

Name
Sen-Huang Huang                                                9                               9    9    9     9    9    9   9          0
Victor Hsu
                                                               9                  9       9    9    9    9     9    9    9              0
（Note 1）
Ming-De, Li                                                    9                  9   9   9    9    9    9     9    9    9   9          0
Chun Kuan                                                      9                  9   9   9    9    9    9     9    9    9   9          3
Wen-Chin Cheng                                                 9                  9   9   9    9    9    9     9    9    9   9          0
     Note 1：The representative of Unimicron Technology Corp.
     Note 2：For those directors and supervisors who match the condition listed below during and two years before assuming
              period, “9 ” is marked in the appropriate space.
            (1) Not an employee of the Company or any of its affiliates;
            (2) Not a director or supervisor of the Company or any of its affiliates. The same does not apply, however, in cases
                where the person is an independent director of the Company, its parent Company, or any subsidiary in which the
                Company holds, directly or indirectly, more than 50% of the voting shares;
            (3) Not a natural-person shareholder who holds shares, together with those held by the person's spouse, underage
                children, or held by the person under others' names, in an aggregate amount of 1 % or more of the total number
                of issued shares of the Company or ranking in the top 10 in holdings;
            (4) Not a spouse, relative within the second degree of kinship, or lineal relative within the fifth degree of kinship, of
                any of the persons in the preceding three subparagraphs;
            (5) Not a director, supervisor, or employee of a corporate shareholder that directly holds 5% or more of the total
                number of issued shares of the Company or that holds shares ranking in the top five in holdings;
            (6) Not a director, supervisor, officer, or shareholder holding 5% or more of the shares, of a specified Company or
                institution that has a financial or business relationship with the Company;
            (7) Not a professional individual who, or an owner, partner, director, supervisor, or officer of a sole proprietorship,
                partnership, Company, or institution that, provides commercial, legal, financial, accounting services or
                consultation to the Company or to any affiliate of the Company, or a spouse thereof;
            (8) Not having a marital relationship, or a relative within the second degree of kinship to any other director of the
                Company;
            (9) Not been a person of any conditions defined in Article 30 of the Company Law,
            (10)Not a governmental, juridical person or its representative as defined in Article 27 of the Company Law.。




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(2) Managers’ Information
                                                                                                                                                                                                                Apr. 26, 2013 / Unit: Share
                                                                                 Spouse and       Shareholding
                                                                                                                                                                                                                      Managers who are
                                                                                  underage             under
                                        Date              Shareholding                                                                                                                                                spouse or second-
      Title             Name                                                      children      the title of a third            Experience & Education                           Serves concurrently as
                                      appointed                                                                                                                                                                        degree relative
                                                                                shareholding            party
                                                       Shares              %   Shares      %    Shares        %                                                                                                       Title Name Relation

                                                                                                                       -BS, Electronic Engineering, National Taiwan       -Chairman of Yuan Xiang Investment Corp
                     Sen-Huang                                                                                                                                            -Chairman of Yuan-Feng Investment Corp
President
                       Huang
                                    1998.06.01       1,733,777       1.29%      －        －        －          －          University
                                                                                                                                                                          -Chairman of PrimeSensor Technology Inc
                                                                                                                                                                                                                       －     －       －
                                                                                                                       -Director of MFG Div , UMC                         -Chairman of Yuan Yao Technology Inc

                                                                                                                       -Ph,D of ,Electronic Engineering, National Chiao
                    Wen-Cheng,                                                                                           Tung University
Vice President
                       Yen
                               2008.02.26             363,904        0.27%      －        －        －          －
                                                                                                                       -R&D Vice Director, Fitipower Integrated
                                                                                                                                                                          -Director of PrimeSensor Technology Inc      －     －       －
                                                                                                                         Technology Inc
                                                                                                                       -MS, Electronic Engineering, San Clara
                     Ming-Tsan
Vice President
                       Kao
                                    2008.12.16        248,364        0.18%      －        －        －          －           University，USA                                                       －                        －     －       －
                                                                                                                       - Manager of R&D, Imagia Technology Co , Ltd
                                                                                                                       -MS, Mechanical and Nuclear Engineering ,National
                     Wei-Chung,                                                                                          Sun Yat-sen University
Director
                       Wang
                                2011.03.24            105,947        0.08%      －        －        －          －         -Senior director of R&D,Advanced Semiconductor
                                                                                                                                                                         -Director of Yuan Yao Technology Inc          －     －       －
                                                                                                                         Engineering,Inc
                                                                                                                       -MBA, National Chengchi University                 -Director of Yuan Xiang Investment Corp
Chief Finance                                                                                                                                                             -Director of Yuan-Feng Investment Corp
Officer
                     Mei-Wei Lo 2007.07.27            121,258        0.09%      －        －        －          －         -Administration Dept Vice Director,Aimtron         -Director of PrimeSensor Technology Inc
                                                                                                                                                                                                                       －     －       －
                                                                                                                        Technology Corp                                   -Director of Yuan Yao Technology Inc

  Note: Shareholding % is calculated based on 134,628,504 issued shares。




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                    (3) Remunerations Paid to Directors, Supervisors, President and Vice President：
                         a. Remunerations Paid to Directors：
                                                                                                                                                                                                                                                                                                                  Dec.31, 2012；Unit: K Shares / NT$1,000
                                                                      Remunerations paid to directors                                                                                                                                    Compensations earned as employee of PixArt or affiliates of PixArt                                                                    (A+B+C+D+E+F+
                                                                                    Compensation                                                                       (A+B+C+D) as                                                                                                                                                                                              G) as % of
                                                                      Retirement                                                                                       % of 2009 Net                                                     Retirement                                                                 Employee                      Restricted                                                   Compen-
                                                                      Pension (B)    from profit      Allowance(D)                                                                                     Salary, bonus                     Pension (F)                        Employee profit sharing (G)                                                                           2012 Net                       sation
                                        Salary(A)                                    sharing (C)         (Note 6)                                                         Income                        and etc. (E)                                                                (Note 5)                       Stock Option                   stock for
                                                                       (Note 4)                                                                                                                                                           (Note 4)                                                                     (H)                       employees (I)                     Income                     fromOther
   Title                Name                                                           (Note 5)                                                                                                                                                                                                                                                                                                                  PixArt

                                                 Entities of PixArt




                                                                               Entities of PixArt




                                                                                                                  Entities of PixArt




                                                                                                                                                  Entities of PixArt




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                                                                                                                                                                                                                    Entities of PixArt




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                                                                                                                                                                                                                                                                                                                                                          Entities of PixArt




                                                                                                                                                                                                                                                                                                                                                                                         Entities of PixArt
                                                                                                                                                                                                                                                                                                                                                                                                                Investee




                                                                                                                                                                                                                                                                                                   Consoli
                                                                                                                                                                                                                                                                                                   Entities
                                                                                                                                                                                                                                                                                 PixArt




                                                                                                                                                                                                                                                                                                   PixArt


                                                                                                                                                                                                                                                                                                    dated
                                                  Consolidated




                                                                                Consolidated




                                                                                                                   Consolidated




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                                                                                                                                                                                                                                                                                                                                                                                          Consolidated
                                                                                                                                                                                                                                                                                                     of
                                                                                                                                                                                                                                                                                                                                                                                                                Compan-
                                        PixArt




                                                                      PixArt




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                                                                                                                                                                                                                                                                                                                                                 PixArt




                                                                                                                                                                                                                                                                                                                                                                                PixArt
                                                                                                                                                                                                                                                                                                                                                                                                                   ies
                                                                                                                                                                                                                                                                         Cash             Stock   Cash    Stock
  Chairman /
                   Sen-Huang Huang
   President
   Director        Tzu-Na Wu (Note1)
  Company           Fortune Venture
represented by       Capital Corp
  Tzu-Na Wu             (Note 1)
                     Sheng-Cheng
  Director
                     Chou(Note 2)
  Company
                       Novatek
represented by                                         0                  0          0                  2,481     2,481                117            117              0.93%      1.05%                4,410         4,410                62            62               1,341             0      1,341    0       227        227                42           42               3.0%      3.4%
                    Microelectronics     0                                                                                                                                                                                                                                                                                                                                                                    None
Sheng-Cheng
                     Corp (Note 2)
    Chou
   Director        Victor Hsu(Note 3)
  Company              Unimicron
represented by        Technology
  Victor Hsu         Corp (Note 3)
   Director           Ming-De Li
   Director           Chun Kuan
   Director        Wen-Chin Cheng


                                                                                                                                                                                                  Name of Directors
             Scale of remunerations to directors of
                                                                                Compensations paid to directors (A+B+C+D)                                                                                       Compensations paid to directors (A+B+C+D+E+F+G)
                         the Company
                                                                                  PixArt       Consolidated Entities of PixArt                                                                              PixArt                                   Consolidated Entities of PixArt
                                                                                                                                                                                     Fortune Venture Capital Corp.、Novatek Microelectronics Fortune Venture Capital Corp.、Novatek Microelectronics
           Less than NT$ 2,000,000                                                     Note 7                                                   Note7                             Corp.、Unimicron Technology Corp、Ming-De Li、Chun Corp.、Unimicron Technology Corp、Ming-De Li、
                                                                                                                                                                                                  Kuan、Wen-Chin Cheng                                 Chun Kuan、Wen-Chin Cheng
           NT$ 2,000,000～NT$ 5,000,000                                                              -                                             -                                                            -                                                     -
           NT$ 5,000,000～NT$ 10,000,000                                                             -                                             -                                                  Sen-Huang Huang                                        Sen-Huang Huang
           NT$ 10,000,000～NT$ 15,000,000                                                            -                                             -                                                            -                                                     -
           NT$ 15,000,000～NT$ 30,000,000                                                            -                                             -                                                            -                                                     -
           NT$ 30,000,000～NT$ 50,000,000                                                            -                                             -                                                            -                                                     -
           NT$ 50,000,000～NT$ 100,000,000                                                           -                                             -                                                            -                                                     -
           NT$ 100,000,000 above                                                                    -                                             -                                                            -                                                     -
           Total                                                                                    -                                             -                                                            -                                                     -
                           Note 1：The representative of Fortune Venture Capital Corp , director’s remuneration is entitled to Fortune Venture Capital Corp
                           Note 2：The representative of Novatech Technology Corp , director’s remuneration is entitled to Novatech The director’s remuneration is calculated based on the period of time being elected within the year from June 15, 2011
                           Note 3：The representative of Unimicron Technology Corp , director’s remuneration is entitled to Unimicron
                           Note 4：PixArt didn’t pay pension to any director in 2011 The numbers shown in the table were what PixArt appropriated for retirement in 2012
                           Note 5：Director’s remuneration has been approved by the Board of Directors but not by Shareholders’ Meeting yet
                           Note 6：Director allowance of NT$117,000 was transportation allowance
                           Note 7：All the Director remunerations belong to this scale

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   b. Remunerations Paid to Supervisors：
       The Company has set an Audit Committee; therefore, Supervisor is not available.

   c. Remunerations Paid to President and Vice President：
                                                                                                                                                                                   Dec.31.2012；Unit: K Shares / NT$1,000
                                                                                                                                                                                                                       Compen-
                                                          Retirement Pension                                             Employee profit sharing(D)                       (A+B+C+D) as %           Employee Stock
                                     Salary(A)                                   Salary, bonus and etc (C)                                                                                                              sation
                                                           (B) （Note 1）                                                        （Note 2）                                    2008 Net Income            Option
                                                                                                                                                                                                                         from
                                                                                                                                              Consolidated Entities of                                      Consoli     Other
      Title        Name                                                                                                  PixArt
                                          Consolidate              Consolidat                    Consolidated                                         PixArt                        Consolidated             dated      PixArt
                                 PixArt   d Entities of   PixArt   ed Entities    PixArt          Entities of                                                             PixArt     Entities of   PixArt   Entities   Investee
                                             PixArt                 of PixArt                      PixArt        Cash             Stock        Cash           Stock                   PixArt                  of       Compan
                                                                                                                                                                                                            PixArt        -ies
                 Sen-
   President     Huang
                 Huang
                 Wen-
   Vice          Cheng,       9,890        9,890          260        260         1,152            1,152          3,062             0          3,062              0       5.13%        5.81%        382       382       None
   President     Yen
   Vice          Ming-
   President     Tsan
                 Kao


   Scale of remunerations to president and vice president of the                                Name of president and vice president
                            Company
                                                                                       PixArt                             Consolidated Entities of PixArt
Less than NT$ 2,000,000                                                                 -                                            -
                                                                                 Wen-Cheng, Yen、                             Wen-Cheng, Yen、
NT$ 2,000,000～NT$ 5,000,000
                                                                                 Ming-Tsan Kao                               Ming-Tsan Kao
NT$ 5,000,000～NT$ 10,000,000                                                     Sen-Huang Huang                              Sen-Huang Huang
NT$ 10,000,000～NT$ 15,000,000                                                           -                                            -
NT$ 15,000,000～NT$ 30,000,000                                                           -                                            -
NT$ 30,000,000～NT$ 50,000,000                                                           -                                            -
NT$ 50,000,000～NT$ 100,000,000                                                          -                                            -
NT$ 100,000,000 above                                                                   -                                            -
Total                                                                                   -                                            -

     Note 1：The numbers shown in the table were what PixArt accrued, not paid, for retirement in 2012.
     Note 2：2012 Earnings distribution proposal has been approved by the Board of Directors but hasn’t been approved by Shareholders’ Meeting as of the date of printing of this annual report. The numbers are
            estimated bonuses.

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     d. Employee Bonus Paid to Officers: (Note)

                                                                                                                       Dec.31.2012；Unit: K Shares / NT$1,000


            Title                   Name                 Stock bonuses              Cash bonuses               Total             % of 2008 net income

President                      Sen-Huang Huang

Vice President                  Wen-Cheng ,Yen

Vice President                  Ming-Tsan Kao                  0                       4,041                   4,041                      1.44%

Director                       Wei-Chung, Wang

Chief Finance Officer             Mei-Wei Lo

     Note ：2012 Earnings distribution proposal has been approved by the Board of Directors but hasn’t been approved by Shareholders’ Meeting as of the date of printing of this annual report.
           The numbers shown above are estimated bonuses.



(4). Comparison of compensation for the Company’s directors, supervisors, president, and vice-present in the past two years and details of
     the compensation’s policy, standards, components, process, and its relationship to performance
     Compensation for the Company’s directors, supervisors, president, and vice-present are paid for by the Company. There is no additional
     compensation given to them from any of the subsidiaries in the Company’s consolidated financial statements. Total compensation accounted
     for 4.97% and 6.06% of the Company’s net income in 2011 and 2012, respectively. Compensation to the directors and supervisors include
     transportation allowance and remunerations from earnings distribution. Transportation allowance given by the Company to its directors and
     supervisors is in line with the industry average and is paid out according to actual attendance to the Board of Directors meetings. The
     remunerations from earnings distribution is given in accordance to the Company’s Articles of Incorporation, which is first proposed by the
     Board of Directors and approved at the Shareholders’ Meeting and takes into account the actual number of days served. Compensation to the
     president and the vice-president include salary, bonus, employee stock bonuses, employee stock options, etc, and is determined based on the
     position, responsibility, the Company’s profitability, and industry norms.




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3.Corporate Governance Report：
   (1) Board of Directors’ Meeting Status：
       The Board of the Company has held 6 meetings in 2012, the attendance of the directors and
       supervisors are shown in the following table:
                                                   Attendance
    Title                        Name                                By Proxy           Attendance Rate (%)               Notes
                                                    in Person

Chairman         Sen-Huang Huang                       6                    0                 100 %

                 Fortune Venture Capital Corp.
Director                                               4                    1                  67 %
                 Representative：Tzu-Na Wu
                 Unimicron Technology Corp.
Director                                               6                    0                 100 %
                 Representative：Victor Hsu
                Novatek Microelectronics Corp                                                                 Term expired on Jul 27, 2012
Director                                               3                    0                  100%
                Representative: Sheng-Cheng Chou                                                              number of attendance with non-
Independent
                 Ming-De Li                            6                    0                 100 %
Director
Independent
Director
                Chun Kuan                              6                    0                 100 %

Independent
                Wen-Chin Cheng                         6                    0                  75%
Director
Other disclosures：
 (I).   If any Independent Director objects to or expresses reservations about the matters listed in Article 14-3 of the
        Securities and Exchange Act,, the following items shall be recorded: date of Board of Directors’ meeting, type of
        meeting, proposal, board resolution and the company’s response to the opinion(s): no such occurrence.
 (II). If a Director recuses himself from a proposal due to conflict of interest, the following items shall be recorded:
       name of Director, proposal, reason for recusal and voting record: no such occurrence.
 (III). Goals for strengthening Board of Director accountability (such as establishing an audit committee, improving
        transparency, etc): The Company has set up the Audit Committee and Compensation Committee. Both
        committees are formed by independent directors in order to strengthen the Company’s corporate governance.
        Details are listed under Corporate Governance Report on page 13-15 of this Annual Report.


   (2) Audit Committee Status or Status of Supervisor’s Participation in Board of Directors’ Meeting
           Audit Committee has held 5 sessions in 2012, the attendance of independent directors are
           shown in the following table:
                                                   Attendance in                                  Attendance Rate
                 Title               Name                                       Proxy                                        Note
                                                      Person                                            (%)
              Independent                                                                                             Convenor of Audit
                                 Ming-de Li                5                     0                     100%
              Director                                                                                                Committee
              Independent
                             Chun Kuan                    5                  0                  100%
              Director
              Independent
                             Wen-Chin Cheng               5                  0                  100%
              Director
              Other disclosures:
                 (a) If any matter listed in Article 14-5 and Audit Committee did not approve but more than 2/3 of directors agreed
                     with, the following items shall be recorded: date of Board of Directors’ meeting, type of meeting,
                     proposal, board resolution and the company’s response to the opinion(s): no such occurrence
                 (b) If an independent director recuses himself from a proposal due to conflict of interest, the following
                     items shall be recorded: name of Director, proposal, reason for recusal and voting record: no such
                     occurrence.
                 (c) Communications between independent directors and internal auditor and accountant:
                     The Company’s internal auditor communicates with Audit Committee about results of auditing
                     periodically. Internal auditor also reports to Audit Committee during quarterly meeting of Audit
                     Committee. The Audit Committee is able to communicate with accountants at any time if they find
                     it necessary.


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(3) Corporate Governance Status
                                                                                                 The Reasons for the
                                                                                               Differences between the
                       Items                                      Status                       Company’s Governance
                                                                                              and Recognized Corporate
                                                                                                     Governance
    1. Shareholding Structure & Shareholders’
       Rights                                        (1) The Company’s Spokesperson
       (1) The way of handling shareholders’              and deputy spokesperson are in
            suggestions and disputes                      charge of the related issues.
       (2) How the Company regularly                 (2) Related matters are handled by
            monitors the list of key                      professional stock agency and
            shareholders who have management              the Company’s stock agency         No material difference
            control of the Company, or those              contact persons.
            who have ultimate control of key         (3) Business conducted between the
            shareholders:                                 Company and its related parties
       (3) Risk management mechanism and                  are regulated by related
            firewall between the Company and              operating procedures in order to
            its affiliates                                comply with risk management.
    2. Composition and Responsibilities of the (1) The company has elected three
       Board of Directors                                 independent directors.
       (1) Independent Directors                     (2) The Company’s auditor is one
       (2) Regular evaluation of external                 of four major international
            auditors’ independence                        auditing firms. The auditor’s      No material difference
                                                          independence is evaluated
                                                          regularly and a policy is in
                                                          place to change the auditor
                                                          every five years.
    3. Communication channel with                    The Company has in place
       stakeholders                                  designated personnel and e-mail         No material difference
                                                     accounts to handle such issues.
    4. Information Disclosure                        (1) The Company makes up-to-date
    (1) Establishment of a corporate website               financial disclosures through its
       to disclose information regarding the               bilingual website at
       Company’s financials, business, and                 www.pixart.com.tw.
       corporate governance status                   (2) The Company has designated
    (2) Other information disclosure channels              personnel for information
       (e.g. maintaining an English-language               gathering and disclosure. A       No material difference
       website, appointing responsible people              professional spokesperson is also
       to handle information collection and                in place to conduct presentations
       disclosure, appointing spokespersons,               to institutional investors and
       webcasting investors conference)                    make full disclosures on the
                                                           Company’s website in a timely
                                                           manner.
    5. Operations of the Company’s                   The Company has set up the Audit
    Nomination Committee, Compensation               Committee and Compensation
    Committee, or other committees of the            Committee on June 15, 2011 and
    Board of Directors                               December 20, 2011 respectively.
                                                     Both committees are formed by
                                                     independent directors in order to        No material difference
                                                     strengthen the Company’s
                                                     corporate governance. Details are
                                                     listed under Corporate Governance
                                                     Report on page 13-15 of this
                                                     Annual Report.
    6. If the Company has established corporate governance policies based on TWSE Corporate Governance Best
        Practice Principles, please describe any discrepancy between the policies and their implementation:
       The Company has not established specific corporate governance policies but has begun implementation in
       accordance to principles of corporate governance and related rules and regulations.
    7. Other important information to facilitate better understanding of the Company’s corporate governance practices
        (e.g. employee rights, employee wellness, investor relations, supplier relations, rights of stakeholders, directors’
        and supervisors’ training records, the implementation of risk management policies and risk evaluation measures,
        the implementation of customer relations policies, and the purchase of liability insurance for directors and
        supervisors):
          (1) The Company has established the Employee Welfare Committee and has a retirement system. It also
                encourages employees to attend various training courses and seminars both domestically and abroad. The
                Company also provides regular health checks and group insurance to its employees. The Company values
                labor relations and provides equal employment opportunities
          (2) The Company has designated personnel for Investor Relations. The Company’s website provides related
                information for investor. Quarterly investor conferences are held to disclose the Company’s business
                operations to investors.
          (3) The Company maintains good communication with its customers and suppliers.
          (4) Continuing education for Directors and Supervisors: The Company’s Directors and Supervisors all have
                professional backgrounds. The Company provides information on continuing education to its Directors
                and Supervisors for reference.
           (5) The Company has purchased liability insurance for its Directors and Supervisors.



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                                                                                               The Reasons for the
                                                                                            Differences between the
                      Items                                     Status                      Company’s Governance
                                                                                           and Recognized Corporate
                                                                                                   Governance
   8. If the Company has a self corporate governance evaluation or has authorized any other professional organization
      to conduct such an evaluation, the evaluation results, major deficiencies or suggestions, and improvements are
      stated as follows: Not Applicable.


(4) Operations of the Company’s Compensation Committee：
    a.Member of Compensation Committee ：
                      Qualifications     With five or more years of experience and
                                         the following professional qualifications                    Independence Status (Note 2)
                                                                                                                                         Number of
                                                                                                                                         Companies
                                        junior college or above
                                        company activity in a
                                        subject related to
                                        accounting or other
                                        business, law, finance,
                                        Fi ld or above of
                                        Lecturer
                                        Business Related
                                        in Corporate
                                        National Examination
                                        Technician of
                                        Specialist or
                                        Attorney, CPA,
                                        Justice, Procurator,
                                        Qualification of
                                                                        activity
                                                                        related to company
                                                                        accounting or others
                                                                        business, law, finance,
                                                                        Work experience in
                                                                                                                                         also Serves
                                                                                                                                              as
    Title                                                                                                                                                 Note
                                                                                                                                         Independen
                                                                                                  1    2    3   4    5   6    7      8         t
                                                                                                                                           Director
                                                                                                                                             for
                    Name
                                                                                                                                                       Independent
  Convenor          Ming-De, Li                                                9                  9    9    9   9   9    9    9      9       0
                                                                                                                                                         Director
                                                                                                                                                       Independent
   Member           Chun Kuan                                                  9                  9    9    9   9   9    9    9      9       3
                                                                                                                                                         Director
                                                                                                                                                       Independent
   Member           Wen-Chin Cheng                                             9                  9    9    9   9   9    9    9      9       0
                                                                                                                                                         Director
   Note：For those directors and supervisors who match the condition listed below during and two years before assuming
           period, “9 ” is marked in the appropriate space.
         (1) Not an employee of the Company or any of its affiliates;
         (2) Not a director or supervisor of the Company or any of its affiliates. The same does not apply, however, in cases
             where the person is an independent director of the Company, its parent Company, or any subsidiary in which the
             Company holds, directly or indirectly, more than 50% of the voting shares;
         (3) Not a natural-person shareholder who holds shares, together with those held by the person's spouse, underage
             children, or held by the person under others' names, in an aggregate amount of 1 % or more of the total number
             of issued shares of the Company or ranking in the top 10 in holdings;
         (4) Not a spouse, relative within the second degree of kinship, or lineal relative within the fifth degree of kinship, of
             any of the persons in the preceding three subparagraphs;
         (5) Not a director, supervisor, or employee of a corporate shareholder that directly holds 5% or more of the total
             number of issued shares of the Company or that holds shares ranking in the top five in holdings;
         (6) Not a director, supervisor, officer, or shareholder holding 5% or more of the shares, of a specified Company or
             institution that has a financial or business relationship with the Company;
         (7) Not a professional individual who, or an owner, partner, director, supervisor, or officer of a sole proprietorship,
             partnership, Company, or institution that, provides commercial, legal, financial, accounting services or
             consultation to the Company or to any affiliate of the Company, or a spouse thereof;
         (8) Not been a person of any conditions defined in Article 30 of the Company Law,


   b. Compensation Committee has held 3 sessions in 2012, the attendance of independent
      directors are shown in the following table:
                                                 Attendance in                                              Attendance Rate
            Title               Name                                             Proxy                                                   Note
                                                    Person                                                        (%)
                                                                                                                                  Independent
       Convenor            Ming-de Li                   5                             0                          100%
                                                                                                                                  Director
                                                                                                                                  Independent
       Member              Chun Kuan                    5                             0                          100%
                                                                                                                                  Director
                                                                                                                                  Independent
       Member              Wen-Chin Cheng               5                             0                          100%
                                                                                                                                  Director
       Other disclosures:
       1.The Board of Directors shall state clearly the session, time and date of the board meeting, details of the
         agenda item, results of board resolutions and handling of the committee recommendations (if the
         remuneration passed by the Board of Directors is more favorable to the recipient than the
         recommendation of the committee, the details of and reasons for the differences shall be specified in the
         Board meeting minutes) to decline or modify a recommendation made by the Remuneration Committee:
         None.
       2.If any member of the remuneration committee has expressed objections to or had reservations about an
         agenda item that were included in the records or made in writing, the details of the session, time and date
         of the remuneration committee meeting, details of the agenda item, opinions and handling of opinions of
         all committee members: None.
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(5) Corporate Social Responsibility：

                                                                                          Deviations from “Corporate
                                                                                          Social Responsibility Best
                      Item                             Implementation Status                Practice Principles for
                                                                                            TWSE/GTSM Listed
                                                                                           Companies” and reasons
       1. Exercising Corporate               The Company has yet to formulate our        The     corporate     social
          Governance                         own corporate social responsibility         responsibility    principles
       (1)The company declares its           standards. However, our corporate           will be established based
          corporate social responsibility    governance practices, our actions taken     on     the      Company’s
          policy and examines the            to fulfill our corporate social             business      needs.     No
          results of the implementation.     responsibilities and our consistent         material difference.
       (2)The company establishes            efforts in educating our employees of
          exclusively (or concurrently)      our corporate concept are in fact being
          dedicated units to be in charge    carried out in accordance with the best
          of proposing and enforcing the     corporate social responsibility practices
          corporate social responsibility    governing companies listed on the
          policies.                          stock exchange and Gre-tai securities
       (3)The company organizes              exchange.
          regular training on business
          ethics and promotion of
          matters prescribed in the
          preceding Article for directors,
          supervisors and employees,
          and should incorporate the
          foregoing into its employee
          performance appraisal system
          to establish a clear and
          effective reward and discipline
          system.
       2. Fostering a Sustainable            (1) The Company is dedicated to             No material difference.
          Environment                            reducing corporate wastes and
       (1)The company endeavors to               recycling resources to conserve
          utilize all resources more             scarce resources and ensure the
          efficiently and uses renewable         hygiene of the environment.
          materials which have a low         (2) The Company has been certified to
          impact on the environment.             the ISO9000:ISO2000 quality
       (2)The company establishes                assurance        standards.      Our
          proper environmental                   manufacturing process also meets
          management systems based on            the EU environmental protection
          the characteristics of their           standards, WEEE and ROHS.
          industries                         (3) General Affairs Dept. is responsible
       (3)The company establishes                for supervising and managing the
          dedicated units or assigns             Company’s             environmental
          dedicated personnel for                protection affairs to ensure
          environment management to              appropriate           environmental
          maintain the environment.              protection practices.
       (4)The company monitors the           (4) The Company constantly carries
          impact of climate change on            out the various carbon reduction
          its operations and should              measures as part of our initiative to
          establish company strategies           fulfill our corporate social
          for energy conservation and            responsibilities.
          carbon and greenhouse gas
          reduction.




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                                                                                      Deviations from “Corporate
                                                                                      Social Responsibility Best
                  Item                             Implementation Status                Practice Principles for
                                                                                        TWSE/GTSM Listed
                                                                                       Companies” and reasons
   3. Preserving Public Welfare           (1) The Company implemented the            No material difference.
   (1)The company complies with               various policies and systems in line
      relevant labor laws and                 with the Labor Standards Law and
      regulations, protects the legal         other relevant regulations to
      rights and interests of                 protect the legal rights of our
      employees, and has in place             employees.
      appropriate management              (2)     The     Company       organizes
      methods and procedures                  complimentary health checkup for
   (2)The company provides safe               employees on an annual basis and
      and healthy work                        conducts training on workplace
      environments for its                    safety and health education.
      employees, and organizes            (3) The Company has established a
      training on safety and health           communication hotline and email
      for its employees on a regular          account to handle and resolve
      basis.                                  employee         comments       and
   (3) The Company has established            suggestions in order to fully
      a mechanism to regularly                implement the labor management
      communicate with employees              mechanism. The e-Notice Board
      and inform employees by                 also serves as an important
      appropriate methods of any              medium for making important
      changes in the company’s                announcements. The objective is to
      operations that may                     ensure     total    communications
      significantly impact the                between the Company and our
      employees.                              employees.
   (4)The company establishes and         (4)       We       maintain       sound
      discloses policies on consumer          communications with our clients
      rights and interests and                and offer transparent and effective
      provides a clear and effective          customer complaint procedures in
      procedure for accepting                 relation to our products and
      consumer complaints.                    services.
   (5)The company cooperates with         (5) Raw materials provided by our
      its suppliers to jointly foster a       suppliers must meet the regulatory
      stronger sense of corporate             environmental             protection
      social responsibility.                  standards.       The    Company’s
   (6)The company, through                    inspection personnel carry out
      commercial activities, non-             strict screening of our supplies to
      cash property endowments,               ensure safety of our products and
      volunteer service or other free         compliance with environmental
      professional services,                  protection regulations.
      participates in community           (6) The Company offers sponsorship to
      development and charities               social welfare organizations from
      events.                                 time to time to support community
                                              development and related social
                                              welfare events.

   4. Enhancing Information              (1) The Company discloses the No material difference.
       Disclosure                            relevant information on the website
   (1)The measures of disclosing             of the Market Observation Post
       relevant and reliable                 System and our official website.
       information relating to their     (2) The Company did not prepare a
       corporate social responsibility.      CSR report but has disclosed the
   (2)The company produces                   relevant CSR information on our
       corporate social responsibility       official website and on the website
       reports disclosing the status of      of the Market Observation Post
       their implementation of the           System.
       corporate social responsibility
       policy.
   5. If the Company has established corporate social responsibility principles based on “Corporate Social
       Responsibility Best Practice Principles for TWSE/GTSM Listed Companies”, please describe any
       discrepancy between the principles and their implementation:
   The Company has yet to formulate our own corporate social responsibility standards. However, our
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                                                                                           Deviations from “Corporate
                                                                                           Social Responsibility Best
                       Item                             Implementation Status                Practice Principles for
                                                                                             TWSE/GTSM Listed
                                                                                            Companies” and reasons
             corporate governance practices, our actions taken to fulfill our corporate social responsibilities are in
             fact being carried out in accordance with the best corporate social responsibility practices.

        6. Other important information to facilitate better understanding of the Company’s corporate social
            responsibility practices (e.g., systems and measures that the company has adopted with respect to
            environmental protection, community participation, contribution to society, service to society, social
            and public interests, consumer rights and interests, human rights, safety and health, other corporate
            social responsibilities and activities, and the status of implementation.）：Please refer to the
            Implementation Status.
        7. If the products or corporate social responsibility reports have received assurance from external
            institutions, they should state so below: The Company has received ISO9000, ISO2000 certification
            with total quality system installation in place.

(6)Ethical management and adopted measures:
                                                                                                Departure from the Corporate
                                                                                                  Governance Best-Practice
                       Item                                    Implementation Status             Principles for TSEC/GTSM
                                                                                                  Listed Companies, and the
                                                                                                reason for any such departure
    1. Formulation of ethical management (1) The Company has yet to formulate the              The corporate social
       policy and measures                   “Ethical Management Principles”.                  responsibility principles
       (1) The company states clearly its    However, the Company’s Board of                   will be established based
           ethical management policy and     Directors and management ensure                   on the Company’s business
           the promises of the Board of      that they fulfil their duty of care and           needs. No material
           Directors and management to       adopt a highly prudent approach in                difference.
           implement         the     ethical performing their duties.
           management practices in its (2) The Company has yet to formulate the
           internal regulations and external “Code of Ethical Conduct”, however,
           documents.                        the Company endeavours to prevent
       (2) The company’s formulation of a    ethical conducts in accordance with
           policy to forestall unethical     the spirit of the “Code of Ethical
           conduct (“prevention program”)    Conduct”.
           and implementation of the (3) The Company has designated the
           operational procedures, code of   Legal Department to review contracts
           conduct and training programs     to ensure legality of any agreements
           contained in the policy.          entered into with the counterparty.
       (3) When establishing the prevention  The Audit Department conducts
           program, the company’s adoption   audits from time to time and
           of preventive measures against    continually follows up the status of
           the offering and acceptance of    improvements.
           bribes and illegal political
           donations to target business
           activities within their business
           scope which may be at a higher
           risk of being involved in an
           unethical conduct.




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                                                                                         Departure from the Corporate
                                                                                           Governance Best-Practice
                   Item                                   Implementation Status           Principles for TSEC/GTSM
                                                                                           Listed Companies, and the
                                                                                         reason for any such departure
  2. Facilitation of Ethical Management                                                  No material difference.
  (1) The Company shall avoid having        (1) The Company’s Legal Department
       any business dealings with trading       reviews business agreements entered
       counterparties who have any              into with the Company’s trading
       records of unethical conducts; and       counterparties to prevent any
       stipulate clearly the ethical            business dealings with trading
       conduct provisions in the business       counterparties who have any records
       agreement.                               of unethical conducts.
  (2) The operation of the Company’s        (2) The Company has put in place the
       department exclusively or jointly        Audit Department directly reporting
       responsible for implementing             to the Board of Directors. The Audit
       ethical management practices and         Department is responsible for
       supervision by the Board of              auditing any violation of ethical
       Directors.                               conduct within the company.
                                                Directors and managerial officers of
                                                the Company are held accountable
                                                for their own ethical management
                                                responsible and report directly to the
                                                Shareholders’ Meeting or Board of
                                                Directors for fulfilment of such
                                                responsibilities.
   (3) The company’s formulation of a (3) The Company has put in place the
        policy to prevent conflict of           principles governing recusal of
        interests   and     offering     of     directors     in    conflict-of-interest
        appropriate means for explanation       situations in our “Rules for Board of
        of the implantation of such policy.     Directors Meetings”. If a director or a
   (4) Implementation       of    effective     juristic person that the director
        accounting systems and internal         represents is an interested party in
        control systems established for         relation to an agenda item, the
        the purpose of carrying out ethical     director shall state the important
        management and the status of            aspects of the interested party
        audits conducted by internal            relationship at the respective
        auditors.                               meeting. When the relationship is
                                                likely to prejudice the interest of the
                                                Company, the director concerned
                                                may not participate in discussion or
                                                voting on that agenda item and shall
                                                recuse himself or herself from the
                                                discussion or the voting on the item,
                                                and may not exercise voting rights as
                                                proxy for another director.
                                            (4) The Company has established
                                                effective accounting systems and
                                                internal control systems to ensure
                                                ethical management practices. Our
                                                internal audit personnel conduct
                                                periodic audits on the status of
                                                implementation.
Functioning of a disciplinary and The Company places high emphasis on No material difference.
complaint system to handle violation of promoting ethical conduct. Employees
the ethical corporate management rules.     are encouraged to report any suspected or
                                            confirmed violation of the ethical conduct
                                            principles to managerial officers, internal
                                            audit supervisors, the audit committee or
                                            other appropriate personnel.
4. Enhancement of Information Disclosure (1) The Company discloses information No material difference.
   (1) Disclosure of information relevant        such as the company’s overview,
        to    the    company’s      ethical      profile and financial information on
        management practices on the its          our         corporate         website
        website.                                 (www.pixart.com.tw) (available in

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                                                                                          Departure from the Corporate
                                                                                            Governance Best-Practice
                      Item                                  Implementation Status          Principles for TSEC/GTSM
                                                                                            Listed Companies, and the
                                                                                          reason for any such departure
      (2) Disclosure of information by other         Chinese/English) and makes a full,
          means (such as construction of an          appropriate and timely disclosure of
          English       website,     appoint         our information to the Competent
          designated staff to be responsible         Authority and the general public
          for collection of the company’s            through the Market Observation Post
          information and disclosure on the          System.
          company’s website etc).               (2) The Company has designated
                                                     personnel for information gathering
                                                     and disclosure. A professional
                                                     spokesperson is also in place to
                                                     conduct presentations to institutional
                                                     investors and make full disclosures
                                                     on the Company’s website in a
                                                     timely manner.
   5. Description of any departure from the Corporate Governance Best-Practice Principles for TSEC/GTSM Listed
      Companies, and the reason for any such departure if the company’s Ethical Management Principles were
      formulated in accordance with the “Corporate Governance Best-Practice Principles for TSEC/GTSM Listed
      Companies”:
       The Company has yet to put in place our own Ethical Management Principles. We shall plan to put in place
       the relevant policy and systems according to business requirements.
   6. Other important information (such as the promotion of the company’s commitment to ethical management and
      policy to the company’s trading counterparties, invitation to trading counterparties to attend training, and
      review of and revisions to the company’s Ethical Management Principles) beneficial in helping others
      understand the status of implementation of the company’s ethical management practices:
      (1) The Company views compliance with the Company Act, Securities and Exchange Act, and rules and
           regulations governing TSEC/GTSM listed companies as fundamental to carrying out ethical management
           practices, and strictly prohibits unethical conduct with trading counterparties.
      (2) The Company’s Internal Controls System contains “Insider-trading Management Procedures”. Directors,
           managerial officers and employees or anyone who has gained access to significant internal information of
           the company due to his or her position, job responsibilities or control relationship, shall strictly comply
           with the relevant securities and exchange regulations to prevent insider-trading. The Company shall adopt
           the appropriate disciplinary and legal measures against anyone who has unlawfully disclose the
           company’s significant internal information to a third party thus resulting in the Company’s loss of assets
           or benefits.

(7) Corporate governance best-practice principles shall be disclosed：
     The Company has not established corporate governance best-practice principles but may do
     so when the need arises.

(8) Other important information to further understand the Company’s corporate governance:
     None.

(9) Status of Internal Control System
    1. Statement of Internal Control：




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                                          PixArt Imaging Inc.
                                     Statement of Internal Control
                                                                                     Date：Mar.19, 2013
 PixArt Imaging Inc. has conducted internal audit in accordance with its Internal Control Regulation
 covering the period from January 1 to December 31, 2012, and hereby declares as follows:
 I.    The Company acknowledges and understands that the establishment, enforcement and
      preservation of internal control system are the responsibility of the Board and the managers. The
      Company has already established such system. The purpose of the system is to reasonably ensure
      the effect and efficiency of operation (including profitability, performance and security of assets),
      the reliability of financial reporting and the compliance with relevant legal rules.
 II. Internal control system has its limitation, no matter how perfect the design is. As such, effective
      internal control system may only reasonably ensure the achievement of the three aforementioned
      goals. Further, the environment and situation may vary, and hence the effectiveness of the internal
      controls system. The internal control system of the Company features the self-monitoring
      mechanism. Once identified, any shortcoming will be corrected immediately.
 III. The Company judges the effectiveness of the internal control system in design and enforcement in
      accordance with the “Criteria for the Establishment of Internal Control System of Public Offering
      Companies” (hereinafter referred to as “the Criteria”). The Criteria is instituted for judging the
      effectiveness of the design and enforcement of internal control system. There are five components
      of effective internal control as specified in the Criteria with which the procedure for effective
      internal control are composed by five elements, namely, 1.Control environment, 2. Risk
      Evaluation, 3. Control Operation, 4 Information and Communication, and 5. Monitoring. Each of
      the elements in turn contains certain audit items, and shall be referred to the Criteria for detail.
 IV. The Company has adopted the aforementioned internal control system for internal audit on the
      effectiveness of the design and enforcement of the internal control system.
 V. Based on the aforementioned audit findings, the Company holds that within the aforementioned
      period its internal control procedures (including the procedures to monitor the subsidiaries),
      including the effectiveness and efficiency in operation, reliability in financial reporting and
      compliance with relevant legal rules, and that the design and enforcement of internal control, are
      effective. The aforementioned goals can be achieved with reasonable assurance.
 VI. This statement shall form an integral part of the Company’s annual report and prospectus and will
      be announced publicly. If there is any fraud, concealment and unlawful practice discovered in the
      content of the aforementioned information, the Company shall be liable to legal consequences
      under Article 20, Article 32, Article 171 and Article 174 of the Securities and Exchanges Act.
 VII. This statement has been approved by the Board of Directors on Mar 19, 2013 with 5 directors
        in session under unanimous consent.

                                                               PixArt Imaging Inc.

                                                                  Chairman：Sen-Huang Huang

                                                                  President：Sen-Huang Huang


   2. Disclose the Review Report of Independent Auditors if they are retained for reviewing the
      Internal Control System: None.



(10) Description of Violations/Infringement of Regulations and the Company’s Response: None.




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(11) Major Resolutions of the Shareholders’ Meeting and Board meeting:
     1. Major resolutions of Shareholders’ meeting for the period from year 2011 to the date of
        printing of this annual report:
        a.     Acknowledged 2011 Business Report, Financial Statements and Earnings
               Distribution proposal.
        b      Approved the proposal for 2011 capitalization of retained earnings.
        c.     Approve the proposal for issuing new restricted stock for employees
        d.     Approved the amendments for the Company’s “Procedures Governing the
               Acquisition or Disposal of Assets”.
    2. Major resolutions of the Board of Director’s Meeting for the period from year 2011 to the
       date of printing of this annual report：
        a.     Approved 2011 business report, financial statements, earnings distribution proposal
               and capitalization of earnings.
        b.     Approved first half of 2012 Financial Statements.
        c.     Approved 2012 business report, financial statements, earnings distribution proposal.
        d.     Approved the proposal to distribute cash from capital surplus.
        e.     Approved the various exemptions and options upon “Initial Adoption of the
               International Financial Reporting Standards” and determination of the accounting
               policies.
        f.     Approved the proposal for retroactive handling of public issuance and OTC listing
               of ordinary shares privately placed in 2009.
        g.     Approved 2012 issuing new restricted stock for employees
        h.     Approved the Regulation Governing the Issuance of New Restricted Shares for
               Employees.
        i.     Approved 2013 issuing new restricted stock for employees
        j.     Approved 2013 issuing Employee stock options of which the exercise price was
               lower than the closing price of common shares on the date of issue.
        k.     Approved the amendments made to Articles 5, Articles 14, and Articles 27 of the
               Company’s Articles of Incorporation.
        l.     Approved the amendments for the Company’s “Procedures Governing the
               Acquisition or Disposal of Assets.”、“Operating Procedures for Endorsements and
               Guarantees,” 、“Operating Procedure for Loan Made to Others,” and” Rules of
               Procedure for Board of Directors Meetings”.
        m. Approved the amendments for the Company’s “Internal Control Systems” and
               “Internal audit implementation rules”.
        n.     Approved the by-election of one seat of the 7th term independent directors.
        o.     Approved the Nomination of one seat of the 7th term independent directors.
        p.     Approved the list of candidates to be elected as one seat of the 7th term independent
               directors.

  (12) Directors’ or Supervisors’ Objections on the Important Resolution of Board Meetings :
       None.

  (13) Information of Resignation or Dismissal of Persons Related to Financial Reports: None.


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4. Disclosure of Auditing Fees：
        CPA firm            Names of auditors (CPA)          Year                  Remark
                         Jia-Ling       Chin-Lai
     Ernst & Young                                      2012
                            Tu           Wang
  Starting from fourth quarter of 2012, due to the internal organizational structure change of Ernst
  and Young, independent auditors were replaced from Shao-Pin Kuo and Chin-Lai Wang to Jia-
  Ling Tu and Chin-Lai Wang .
                                                                                     Unit：NT$1,000
                                  Item                Auditing         Non-
    Scale                                                                                Total
                                                        Fee         Auditing Fee
    1    Less than 2,000                                                 V
    2    2,000～4,000                                     V                                  V
    3    4,000～6,000
    4    6,000～8,000
    5    8,000～10,000
    6    10,000 and above

    (a) The amount of non-auditing relevant fees charged by the appointed independent auditors
        and the related parties reaches 25% of the Company’s annual auditing expenses: Not
        Applicable.

    (b) If there is any change in the appointed independent auditor firm and the Company’s annual
        auditing expenses decreased simultaneously, information regarding the amount and reasons
        for the decrease in auditing expenses shall be disclosed: Not Applicable.

    (c) Auditing expenses decreased by 15% in comparison to the previous year, information
        regarding the amount, percentage and reasons for the decrease in auditing expenses shall be
        disclosed: Not Applicable.


5. Changes in Independent Auditors：

    Starting from fourth quarter of 2012, due to the internal organizational structure change of
    Ernst and Young, independent auditors were replaced from Shao-Pin Kuo and Chin-Lai Wang
    to Jia-Ling Tu and Chin-Lai Wang .


6. PixArt Chairman, President, manager (s) who is responsible for financial or accounting
   affairs working in the accounting firm of the appointed independent auditors or the
   accounting firm’s related parties within the past year: None.



7. Changes in shareholding of directors, supervisors, officers and major shareholders holding
   more than 10% shares for the preceding year to the date of printing of this annual report

   (1)Changes in Shareholding and Shares Pledged by Directors, Supervisors, Officers and
      Shareholders with 10% or more Shareholding



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                                                                                                                     Unit：share
                                                                              2012                      Jan 1. to April 26, 2013
                                                                   Net change in        Net          Net change in        Net
                      Title                     Name
                                                                   shareholding      change in       shareholding      change in
                                                                                       shares                            shares
                                                                                      pledged                           pledged
            Chairman / President      Sen-Huang Huang                  53,432                    -               -                 -
            Director                  Tzu-Na Wu                             -                    -               -                 -

            Director represented by   Fortune Venture Capital
                                                                   (5,263,166)                   -      (10,000)                   -
            Tzu-Na Wu                 Corp. (Note 1)

            Director / Supervisor     Sheng-Cheng Chou                        -                  -               -                 -
            Director / Supervisor                                                                -               -                 -
                                      Novatek Microelectronics
            represented by Sheng-                                             -
                                      Corp. (Note 2)
            Cheng Chou
            Director                    Victor Hsu                         -               -                -              -
            Director represented by     Unimicron Technology                               -                -              -
                                                                 (194,118)
            Victor Hsu                  Corp.
            Independent Director        Ming-De Li                         -               -                -              -
            Independent Director        Chun Kuan                          -               -                -              -
            Independent Director        Wen-Chin Cheng                     -               -                -              -
            Vice President              Wen-Cheng ,Yen             133,030                 -         11,581                -
            Vice President              Ming-Tsan Kao                90,688                -         11,581                -
            Division Director           Wei-Chung Wang               87,336                -        (7,450)                -
            Division Director           Cheng-Kuang Sun (Note 3)     66,742                -                -              -
            Division Director           Chun-Yi Lu (Note 3)          11,300                -                -              -
            Chief Finance Officer       Mei-Wei Lo                   68,506                -        (5,037)                -
            Note1：Fortune Venture Capital Corp had been discharged on Feb..18 2013. Information disclosed above only covers
                    the period of service.
            Note 2：Novatek Microelectronics Corp. had been resigned on Jul.27 2012. Information disclosed above only covers
                    the period of service.
            Note 3：Appointed on Mar. 24 2011, information disclosed above only covers the period of service.


          (2). If the counterparty of the share transfer or pledge disclosed above is a related party,
                disclose the relationship and shares transferred or pledged:
           (i) Stock Trade with Related Party：None.
           (ii) Stock Pledge with Related Party：None.
8. The relationship between any of the Company’s top ten shareholders：
                                                                                                     April. 26, 2013; Unit: Share/%

                                                SHAREHOLDING              SHAREHOLDING                     TOP 10
                                                UNDER SPOUSE                UNDER THE                  SHAREHOLDERS
     NAME               SHAREHOLDING                                                                      WHO ARE                  REMARK
                                                AND UNDERAGE              TITLE OF THIRD              RELATED PARTIES
                                                  CHILDREN                    PARTY
                                                                                                       TO EACH OTHER
                         Shares         %        Shares          %        Shares         %             Name      Relationship
Fortune Venture
Capital Corp.         5,646,494       4.19%        －             －          －            －              －             －                －
Representative：
Stan, Hung
Hsun Chieh
Investment Co.,
Ltd.                  3,820,000       2.84%        －             －          －            －              －             －                －
Representative：
Ping-Kun, Hung
Novatek
Microelectronics
Corp.                 1,991,971       1.48%
Representative：
Tai-Shung ,Ho
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 China Trust in
 custody of PixArt
 Imaging Inc. of              1,983,616     1.47%
 employee stock
 trust account
 Fubon Life
 Issurance Co., Ltd.          1,804,477     1.34%
 Representative：
 Ben-Yuan, Cheng
 Sen-Huang Huang              1,733,777     1.29%
 Unimicron
 Technology Corp.             1,372,116     1.02%
 Representative：
 Tzu-Chang, Tseng
 Ming-Kai Tsai                1,101,525     0.82%
 Ruei Meng
 financial consultant
 Corp.                         961,628      0.71%       －         －             －           －           －             －              －
 Representative：
 Ming-Huei, Lin
 Investment
 account of                    858,000      0.64%       －         －             －           －           －             －              －
 overseas fund
Note 1：Shareholding % is calculated based on the company’s total 134,628,504 issued shares.
Note 2：The above table disclosed the information that the company is able to collect.


9. Long-Term Investment Ownership
                                                                                                     Dec.31 2012; Unit: Share / %
                                                                              Investments from
                                                                      Directors,Supervisors, Managers,
                                              PixArt Investment                                        Total investments (1) + (2)
                     Investees                                            and Directly or Indirectly
                                                                            Controlled Businesses
                                              share         %              share               %           share           %
      PixArt International (BVI) Ltd.        2,825,000 75.35%           924,000          24.65%          3,749,000     100.00%
      PixArt International (SAMOA) Ltd.     10,330,000 100.00%              -               -           10,330,000     100.00%
      Yuan-Xiang Investment Corp            40,000,000 100.00%              -               -           40,000,000     100.00%
      Yuan-Feng Investment Corp.             5,000,000 100.00%              -               -            5,000,000     100.00%
      PrimeSensor Technology Inc.                -        -            6,904,033         52.43%          6,904,033      52.43%
      YuanYao Technology Inc                     -        -            2,000,000         100.00%         2,000,000     100.00%
      YuanXiang Technology (SAMOA) Ltd.          -        -            2,824,000         100.00%         2,824,000     100.00%
      YuanSheng Investment (SAMOA) Ltd.          -        -                 1            100.00%             1         100.00%
      PrimeSensor Technology (SAMOA) Ltd.        -        -             460,000          100.00%          460,000      100.00%
      PixArt Imaging (USA) Inc.                  -        -              10,000          100.00%           10,000      100.00%
      PixArt Imaging (Penang) Inc.               -        -            10,000,000        100.00%        10,000,000     100.00%
      ePlan Technology (SAMOA) Ltd.              -        -             400,000          100.00%          400,000      100.00%
      PixArt Japan K.K.                          -        -              1,000           100.00%           1,000       100.00%
      CMC Capitals Invetments, L.P.              -        -                 -            10.30%               -         10.30%
      Hsieh Yung Investment Co., Ltd.       34,686,000 4.55%          127,182,000        16.66%         161,868,000     21.21%




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                                                IV、Capital and Shares
    1.Capital and Shares
             (1) Source of Capital：
                                                                                                            Unit:1,000 Shares/NTD1,000
                               Authorized capital                      Paid-in capital                                       Remarks
Year/month    Par Value    Shares (in    Amount (in              Shares (in     Amount (in                                   Issuing shares for
                                                                                                    Source of capital                                 Others
                           thousand)      thousand)              thousand)       thousand)                                 assets other than cash
                                                                                                    Exercise of stock
Jan. 2012        10           150,000       15,000,000           131,220           1,312,200            options &                     -              Note 1
                                                                                                   retirement of stock
                                                                                                       repurchases
Sep 2012         10           150,000       15,000,000           132,645           1,326,449        Capitalization of                 -              Note 2
                                                                                                    retained earnings
                                                                                                       Issuing new
Dec 2012         10           150,000       15,000,000           133,624           1,336,243       restricted stock for               -               Note 3
                                                                                                        employees
                                                                                                       Issuing new
Apr 2013         10           150,000       15,000,000           134,629           1,346,285       restricted stock for               -               Note 4
                                                                                                        employees
 Note 1：Science Park Administration, approval letter No 1010000025.
 Note 2：Science Park Administration, approval letter No 1010028454.
 Note 3：Science Park Administration, approval letter No 1010037645.
 Note 4：Science Park Administration, approval letter No.1020010241

                                                                                                                           April. 26, 2013; Unit:Share
                                                              Authorized Capital
              Type of stock                                                                                                    Remarks
                                  Outstanding shares           un-issued shares                Total
             Common shares          134,628,504                  15,371,496                 150,000,000


                      Securities under General Application System：Not applicable.

             (2) Structure of Shareholders
                                                                                                                        April 26, 2013; Unit: Share
                  Shareholder                                                                             Foreign
                                 Government        Financial           Other
                                                                                     Individuals
                                                                                                                          Treasury           Total
                       structure                                                                       institions and
                                  agencies        institutions      institutions                                           stock
              Quantity                                                                                  individuals
              Number of
                                     0                 19               91             31,540               99                1             31,750
              shareholders
              Shareholding
                                     0            4,704,615         21,134,754       98,336,530         4,951,605         5,501,000       134,628,504
              (shares)
              Shareholding %        0.00               3.49            15.70           73.04               3.68             4.09            100.00


             (3)Distribution of Shareholding
                                                                                                       April 26, 2013, Par value of $10
                                                                              Number of
                              Class of shareholding (shares)                                       Shareholding (shares)          Shareholding %
                                                                             shareholders
                                    1 to             999                             10,971                   796,818                          0.59
                                1,000 to           5,000                             16,620                30,720,389                         22.82
                                5,001 to          10,000                              2,239                15,281,717                         11.35
                               10,001 to          15,000                                807                 9,412,167                          6.99
                               15,001 to          20,000                                320                 5,527,019                          4.10
                               20,001 to          30,000                                342                 8,153,560                          6.06
                               30,001 to          50,000                                207                 7,724,857                          5.74
                               50,001 to         100,000                                136                 8,952,593                          6.65
                             100,001 to          200,000                                 67                 8,930,933                          6.63
                             200,001 to          400,000                                 16                 4,379,830                          3.25
                             400,001 to          600,000                                  9                 4,490,619                          3.34
                             600,001 to          800,000                                  4                 2,649,868                          1.97
                             800,001 to 1,000,000                                         3                 2,653,158                          1.97
                            More than 1,000,001                                           9                24,954,976                         18.54
                                    Total                                            31,750               134,628,504                        100.00
                  Note: PixArt does not issue preferred stocks.
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     (4) Major Shareholders:
                                                                                                               April.26, 2013 Unit: share
                                                                        Shareholding
                                                                                               Shareholding                   Shareholding %
             Name of dominant shareholder
             Fortune Venture Capital Corp.                                                              5,646,494                           4.19 %
             Hsun Chieh Investment Co., Ltd.                                                            3,820,000                           2.84 %
             Novatek Microelectronics Corp.                                                             1,991,971                           1.48 %
             China Trust in custody of PixArt Imaging Inc. employee
             stock ownership trust account
                                                                                                        1,983,616                           1.47 %
             Fubon Life Issurance Co., Ltd.                                                             1,804,477                           1.34 %
             Sen-Huang Huang                                                                            1,733,777                           1.29 %
             Unimicron Technology Corp.                                                                 1,372,116                           1.02 %
             Ming-Kai Tsai                                                                              1,101,525                           0.82 %
             Ruei Meng financial consultant Corp.                                                         961,628                           0.71 %
             Investment account of overseas fund                                                          858,000                           0.64 %

(5) Market Price, Net value, Earnings and Dividend per Share and Related Information over the
    Last Two Years:：
                                                                                                                             Unit: Share/ NTD1.00
                                                            Year                   2011                      2012             Jan 1. to May 7, 2013
          Subject                                                           (paid out in 2012)        (paid out in 2013)            (Note 6)
         Market        High                                                    131.72                     96.63                      74.50
         price per     Low                                                      56.14                     58.90                      61.70
         share
         （Note 1）
                       Average                                                  89.30                     79.32                      68.48
         Net value Before distribution                                          44.81                     43.27                      43.33
         per share After distribution (Note 2）                                  41.50                       *                          *
                   Weighed average outstanding shares                        130,412,919               127,079,337                127,143,888
                                 Before retroactive
         EPS                     adjustment
                                                                                   3.85                      2.20                       0.11
                   EPS
                                 After retroactive
                                 adjustment（Note 2）
                                                                                   3.81                         *                          *
                   Cash dividend                                                   2.9                         *                          **
         Dividend Stock          Retained earnings                                 0.1                         *                          **
         per share dividend      Capital surplus                                   －                           *                          **
                   Accumulated unpaid dividends                                    －                          －                           **
                   P/E ratio (Note 3)                                             23.44                      36.05                        **
         Analysis
         of ROI
                   P/P ration (Note 4)                                            30.79                        *                          **
                   Cash dividend yield (Note 5)                                  3.25 %                        *                          **

          * : Pending on decision of Shareholders’ Meeting
          **: Not Applicable.
              Note 1：Market prices have been retroactively adjusted for stock dividend, cash dividend and employee stock bonus.
              Note 2：This number has been adjusted based on the resolution of shareholders’ meeting held in the following year.
              Note 3：P/E ratio=Average price per share of the year/Earnings per share
              Note 4：P/P ratio=Average price per share of the year/Cash dividend per share
              Note 5：Cash dividend yield=Cash dividend per share/ Average price per share of the year
              Note 6：Refer to the audited financial statements for the first quarter of 2013 for net worth per share or earnings per share figures for
                     the current fiscal year up to the date of printing of the annual report.

     (6) The Company’s stock dividend policy and status report
          a. Stock dividend policy regulated in the Company’s Articles of Incorporation：
             Where the Company has a profit at the end of each fiscal year, the Company shall
             allocate the profit in the following order:
                1. Income tax obligation;

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       2. Offsetting accumulated deficits, if any;
       3. Legal reserve at 10% of net income after tax
       4. Appropriate or reverse special reserve in accordance with applicable rules and
          regulations.
       5. Remuneration for directors to a maximum of 1% of the remaining current year’s
          earnings after deducting for item1 through 4.
       6. After deducting for item 1 through 4 above from the current year’s earnings, no
          less than 1% of the remaining amount together with the prior years’
          unappropriated earnings is to be allocated as employees’ bonus.
       7. The remaining, after all the above appropriations and distributions, may be
          retained or distributed proportionally as shareholders’ bonus. The distribution will
          be recommended by the board of directors and resolved in the shareholders’
          meeting.

     The board of directors shall make the distribution proposal in the subsequent year and
     submit it to the annual shareholders’ meeting for proposal. The proposal should reflect
     factors such as industry situation, current and future fund requirements, and long-term
     financial planning. Of the proposal, both dividend and employees’ bonus may be
     distributed in the form of cash or stock, but cash dividend shall be no less than 10% of
     the total dividends. Director remuneration shall be distributed in cash.

   b. Surplus earnings distribution proposal (approved by Board of Directors and to be
     discussed in this year’s Shareholders’ Meeting)：
        1.The Board of Directors proposes to distribute the Company’s 2012 surplus earnings
          as follows:
                                                                          Expressed in NT Dollars
                          Descriptions                  Amount                  Remarks
         Net profit of 2012                                280,108,272
         Less: 10% Legal reserve                           (28,010,827)
               Special reserve                              (3,927,279)
         2012 Earnings Available for Distribution          248,170,166
         Plus: Unappropriated retained earnings of
                previous years                            1,716,475,278
         Less: Adjustment from retained earnings
                recognized under equity method.            (11,364,831)
         Earnings Available for Distribution              1,953,280,613
         Distribution Items:
           Cash Dividend to common shareholders             12,912,750 NT$0.1 per share
         Total Distribution                                 12,912,750
         Unappropriated Earnings                          1,940,367,863


        The Board of directors also proposes to distribute employee cash bonus in the
        amount of NT$45,578,942, and Directors’ remuneration in the amount of
        NT$2,481,174. The above distribution and employee bonus is consistent with the
        2012 financial statements.

       2. distribute cash from capital surplus：
          The Company is proposing to distribute cash in the amount of NT$ 245,342,258
          from capital surplus for shares issued at premium in accordance with Article 241 of
          the Company Act. The total amount of cash distribution per share is NT$ 1.9
          (calculated to the nearest dollar) based on the total number of outstanding shares
          aggregating 129,127,504 shares (total number of shares outstanding totaling
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            134,628,504 shares less treasury stock 5,501,000 shares) as at April 26, 2013

(7) Impact of the capitalization of earnings to the Company’s business operations and earnings
     per share.
   Not Applicable.

(8) Employee bonus and Director/Supervisor remuneration
    a. Employee bonus and Director/Supervisor compensation regulated in the Company’s
       Articles of Incorporation.
       The execution of employee bonus and Directors’ & Supervisors’ remuneration complied
       with Article 24 of the Company’s Articles of Incorporation. Please refer to (6) for details
       regarding the implementation of the Company’s stock dividend policy.

   b. Accounting method for differences between accrued and actual employee bonus and
      Director/Supervisor remuneration and the method used to accrue employee bonus and
      Director/Supervisor remuneration:
      Estimates for and Director/Supervisor remuneration are accrued based on the
      percentages stipulated in the Articles of Incorporation. The employee bonus is accrued
      based on the percentages stipulated in the Articles of Incorporation at 25% of the current
      net income (excluding the effects of expensing employee bonus) after setting aside the
      legal reserve and other mandatory reserves. If the Shareholders’ meeting resolves to
      issue employee bonus in the form of common shares, the number of shares is determined
      based on the closing stock price one day prior to the Shareholders’ Meeting, ex-right/ex-
      dividend. Any discrepancies between the actual employee bonus as decided by the
      Shareholders’ Meeting and the estimates would be recognized as profit/loss in the
      following year.


    c. Employee bonuses and Director/Supervisor remuneration proposal approved by the
       Board of Directors.
       （I） Distribution of cash bonuses or stock bonuses to employees, and compensation
               for directors and supervisors. If there is any discrepancy between such an
               amount and the estimated figure for the year these expenses are recognized, the
               discrepancy, its cause, and the status of treatment shall be disclosed:
               The Company will distribute employee cash bonuses in the amount of
               NT$45,579 thousand, and Director remuneration in the amount of NT$2,481
               thousand, as approved by the Board of Directors on May 7th, 2013. The above
               distribution and employee bonus is consistent with the 2012 financial statements.
       （II） The amount of any proposed distribution of employee stock bonuses, and the
               size of such an amount as a percentage of the sum of the current after-tax net
               income and total employee bonuses:
               Not Applicable.
       （III） The annual report shall assess the effect upon imputed earnings per share of any
               proposed distribution of employee bonuses and director/supervisor
               compensation;
               The Company has expensed the employee bonus and Director/Supervisor
               remuneration for fiscal year 2012 since the policy began in 2008. Therefore, the
               pro forma earnings per share is the same as the earnings per share in its financial
               statements.



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    d. The actual distribution of employee bonuses and director/supervisor compensation for
       the previous fiscal year (with an indication of the number, dollar amount, and stock price
       of the shares distributed), and if there is any discrepancy between the actual distribution
       and the recognized employee bonuses and director/supervisor compensation, additionally
       the discrepancy, cause, and how it was treated:
       The actual distribution and the differences for fiscal year 2011 are as follows:

                                                                                                    Expressed in NT 1,000
                                                                           Reason and
      Distribution        Actual           Amount
                                                           Difference     treatment for       Shares Issued      Share Price
         items          distribution       accrued
                                                                           differences
    Remuneration of        4,469            4,469                0            None                  -                   -
      directors and
       supervisors
    Profit sharing to      67,820          67,820                0           None                   -                   -
     employees - in
          cash
    Profit sharing to      13,000          13,000                0           None             167,688 shares           77.5
     employees - in
          stock




(9) Status of treasury stocks：
                                                                                                             Apr. 26, 2013

              Items                          Fourth                          Fifth                          Sixth
  Purpose of the buyback               Transfer to employee             Transfer to employee         Transfer to employee
                                            2011.03.30~                                                   2011.12.22~
  Buyback period                                                     2011.10.04~ 2011.11.15
                                             2011.05.20                                                    2012.01.16
  Proposed price range of the           Between NT$84 to                 Between NT$55 to               Between NT$45 to
  buyback (Note)                            NT$170                           NT$105                         NT$107
                                         1,636,000 shares of             2,984,000 share of              881,000 share of
  Number of shares bought back
                                           common stock                    common stock                   common stock
  Total cash paid for the
                                          NT$ 190,191,431                NT$ 228,436,682                 NT$ 59,971,786
  buyback (in NTD)
  Number of shares cancelled or
                                              0 share                        0 share                        0 share
  transferred
  Accumulated holding of
                                       1,636,000 shares                   4,620,000 shares               5,501,000 shares
  treasury stock
  Accumulated number of
  shares as a percentage of total
                                               1.22%                          3.43 %                           4.09%
  number of outstanding shares
  （%）
  Note: It is allowed to buy back shares even though the market price is lower than the lowest price of
        the price range.




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2.Corporate Bonds: Not applicable.

3. Preferred Stocks: Not applicable.

4. GDR/ADR: Not applicable.。

5. Employee Stock Option：
             (1) The Status of Employee Stock Options:
                                                                                                              Apr. 26, 2013
                     ESOP Granted                                            Fourth Round
   Approved Date by the Securities & Futures Bureau                           12/24/2007
   Issuing Date                                                      12/27/2007 issued 5,000 units
   Option Duration                                                              6 years
   Number of Options Granted                                                  5,000 units
   Percentage of Shares Exercisable to Outstanding
                                                                                 4.27%
   Common Shares (%)
   Source of Option Shares                                                Issuing new shares
   Vesting Schedule                                 2nd Year: up to 50%, 3rd Year: up to 75%, 4th Year: up to 100%
   Shares exercised                                                         832,500 shares
   Value of Shares Exercised (NT$1,000)                                         161,422
   Shares Unexercised (Note)                                               2,306,000 shares
   Exercise Price Per Share(NT$) (Note)                                                       NT$ 168.28
   Percentage of Shares Unexercised to Outstanding
                                                                                                1.71 %
   Common Shares (%)
                                                                   The exercise price was equal to the closing stock price on the
                                                                   date when the ESOP was granted. The exercise price was
                                                                   actually the same as market price. And employees can exercise
                                                                   the options two years or more after the issuing date. If all
   Impact to Shareholders’ Equity                                  unexercised options are exercised, the outstanding shares will
                                                                   be increased by 1.71%. The exercise price equals to
                                                                   NT$168.28, which is higher than net value per share, the
                                                                   exercise of options will increase the net value per share.

             Note：Numbers expressed in this table are prices after adjustments in accordance with their respective rules
                       governing stock option issuance and exercise.


             (2) List of Managers and Top 10 Employees (whose exercise amount is higher than NT$ 30,000
                  thousand) Participating in Employee Stock Option Plan

                                                                                                                           Apr.26, 2013
                                                                     Options exercised                      Options unexercised
                                              % of shares
                                     Number                Shares   Price of   Total      %  of     Shares  Exercise    Total      % of
                                              exercisable
                                        of                exercised shares value of exercised unexercised price ($) exercise unexercised
                                                   to
               Title       Name      options                       exercised shares shares to      (shares)           amount of shares to
                                              outstanding
                                     granted                          ($)    exercised outstanding                     shares outstanding
                                               Common
                                     (shares)                                  ($K)     common                       unexercised common
                                                Shares
                                                                                         shares                         ($K)      shares
                         Sen-Huang
             President
                         Huang
             Vice      Wen-
             President Cheng ,Yen
  Managers




             Vice      Ming-Tsan
             President Kao       497,000        0.4%        0        0        0        0%       497,000    168.28   83,635       0.4%
             Division Wei-Chung
             Director Wang
             Chief
             Finance Mei-Wei Lo
             Officer

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                        Ching –Lin
              Manager
  Employee
                        Chung
                                     126,000   0.1%     0        0         0         0%      126,000   168.28   21,203       0.1%
                      Wei-Hsiang
              Manager
                      Wang
   Note：The information is disclosed to optionees who were employees of the Company as at April 26, 2013.


6. Restricted stock for employees：


 (1) The Status of Restricted stock for employees：
                                                                                                             Apr. 26, 2013
             Restricted Granted                                                         2012 First Round
                                                                                 Restricted stock for employees
             Approved Date by the Securities & Futures                                    09/05/2012
             Bureau
             Issuing Date                                                       11/22/2012 issued 979,436 shares
                                                                               04/03/2013 issued 1,020,564 shares
             Total Number of New Shares                                                 2,000,000 shares
             Issuing Price                                                                   NT$ 0
             Percentage of Shares Exercisable to Outstanding                                1.49 %
             Common Shares (%)
                                                                 For those employees who was awarded the new restricted
                                                                 shares for employee still at service after the expiration of
                                                                 the following terms and achieve the performance criteria
                                                                 set by the Company (performance requirement is set by the
             Vesting Conditions                                  Chairman of the Board with the authorization from the
                                                                 Board of Directors), the proportion of shares reaching the
                                                                 vesting conditions is as follows: Serving the expiration of
                                                                 one year: 25%、Serving the expiration of two year: 25%、
                                                                 Serving the expiration of three year: 25%、Serving the
                                                                 expiration of four year: 25%
                                                                  a. After employees are allocated with new shares and
                                                                     before the vesting conditions are reached, in addition to
                                                                     inheritance, the employees shall not sale, mortgage,
             Restricted rights                                       transfer, gift, pledge or do anything on those new
                                                                     restricted shares for employee.
                                                                  b. The attendance, motion, making speeches, voting rights
                                                                     is all entrusted to custodian organization to execute
                                                                     according to the contract.
                                                                 The new restricted shares for employee issued under this
                                                                 regulation will be handed over to stock trust custody under
             Custody condition                                   the employees’ names, after the employees are allocated
                                                                 with new shares and before the vesting conditions are
                                                                 reached
                                                                 Except the limits due to trust agreement in previous
                                                                 section, the new restricted shares for employee allocated
             The restricted rights on the newly issued shares    under this regulation, before reaching vesting conditions,
             before reaching the vesting condition               other rights, include but not limited to: dividends, bonus
                                                                 and allocation rights of capital surplus, stock options on
                                                                 cash capital increase and voting rights are all the same as
                                                                 the common stocks issued by the Company.
             Shares Retracted                                                             16,384 shares
             Shares Released                                                                  None
             Shares Ureleased                                                           1,983,616 shares
             Percentage of Shares Unreleased to Outstanding                                 1.47 %
             Common Shares (%)
                                                                Shall the vesting conditions all new restricted shares issued
                                                                to employees in this round be met, the Company’s capital
             Impact to Shareholders’ Equity                     will increase by 1.47% based on the number of currently
                                                                outstanding shares of the Company. The effects of dilution
                                                                are limited due to vesting conditions be met across several
                                                                fiscal periods.




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  (二) List of Managers and Top 10 Employees Participating in Restricted stock for employees
                                                                                                                        Apr. 26, 2013
                                     Number
                                                                    Released restriction rights          Unreleased restriction rights
                                               % of shares                                                                    % of shares
                                        of                                               % of shares
                                                    to                                                                        unreleased
                                    restricted                                           released to
                Title       Name               outstanding    Shares     Issuing Issuing               Shares Issuing Issuing     to
                                      stock                                              outstanding
                                                Common       released     Price Amount               unreleased Price Amount outstanding
                                     granted                                              Common
                                                 Shares                                                                       Common
                                     (shares)                                              Shares
                                                                                                                                Shares
                           Sen-Huang
              President
                             Huang
Managers




                             Wen-
            Vice President Cheng ,Ye
     、




                               n
                           Ming-Tsan 249,032    0.18 %          0           0        0        0%     249,032      0      0      0.18 %
            Vice President
Employee




                              Kao
              Division     Wei-Chung
               Director      Wang
            Chief Finance Mei-Wei
               Officer         Lo
            Note：For materiality considerations, parties to which the information will be disclosed include managerial officers
                 (irrespectively of the number of shares obtained) and employees who have received more than 50,000 shares of
                 the new restricted shares.


           7. Status of New Shares Issuance in Connection with Mergers and Acquisitions：None.


           8. Execution status of Financing：Not applicable.
                        .




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                                 V.Business Activities
1. Business Scope
    (1) Business Scope：
         a.The main business activities of PixArt include：
           Research, develope, design, produce and sell the following products:
           (I). CMOS Image Sensor
           (II). Image processor
           (III). Image sensor in single chip
           Any trade business associated with the aforementioned products
         b.Revenue Mix：
                                                                                         Unit：NT$ 1,000
                                       Year              2011                        2012
            Product                             Amount             %            Amount           %
            CMOS Image Sensor                     3,165,709         98.38          3,283,100     99.39
            Others                                   52,130          1.62             20,087      0.61
                        Total                     3,217,839        100.00          3,303,187    100.00

         c. Major products and services ：
                      Category                                    Description
                                        A.CMOS Image Sensor
                                        B.Optical and laser mouse chip
                                        C.PC and NB Camera SOC Solution
              CMOS Image Sensor and
                                        D.Multi-Object–Tracking (MOT) sensor
              Application IC
                                        E.DSP Chip for NB and PC Camera
                                        F.Optical and capacitive touch solutions
                                        G.Gesture sensors

         d. New Products Planned for Development：
            (a)Sensors for wireless, energy-efficient and integrated optical/laser/touch mice
            (b)TOG (Tracking On Glass) and gaming mouse
            (c)OFM (Optical Finger Mouse) sensor
            (d)MOT sensor for Smart TV or Set Top Box remote controller
            (e)Optical touch solutions for Windows 8 and other applications
            (f)Capacitive touch solutions
            (g)Gesture sensors
            (h)HSD (Human Sensing Device)/Face recognition sensor
            (i) Various Human-machine interface(HMI, Human Machine Interface) products

    (2) Industry summary：
         a. Industry overview and outlook
           CMOS image sensor has a wide range of application. The main markets include
           functional/ smart mobile phone, PC/ NB camera, mouse, digital camera, household

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     electrical appliances, video conference, security system, automobile parking sensor,
     driving recorder, game console, toy, medical usage, and etc. For the standard CMOS
     image sensor market, companies within this industry are mainly from United States,
     Japan, and Korea. In the recent years, Chinese companies are also focusing on getting
     market shares. In addition to the product being standard, DRAM companies and
     Chinese companies are joining this industry. This contributes to the fierce comepetition
     in standard CMOS image sensor market. As for the applied CMOS image sensor
     market, it has higher barrier of entrance due to the charateristics of this product.
     Therefore, companies in this industry will be able to maintain better product revenue.
     With improving technology of CMOS image sensor, the range of application has
     become wider. Despite the skills used in mouse, game console, and toy, applied CMOS
     image sensor has been developed to use in touch, face recognition, gesture control, and
     etc. This technology has been utilized in mobile phones, computers, cars, televisions,
     and various products. Since there are a variety of usages available for applied CMOS
     image sensor, this market provides companies many opportunities to establish different
     products.

   b. Relationship between downstream, midstream, and upstream
     The relationship between the downstream, midstream, and upstream players in
     Taiwan’s IC industry is shown in the following table. The players are upstream IC
     design companies, midstream IC wafer fabrication companies, and downstream IC
     packaging and testing companies. Unlike foreign IC companies that undertake the
     entire process (design, fabrication, packaging, and testing) and IC companies in
     Southeast Asia that only undertake downstream packaging and testing, Taiwanese IC
     companies tend to specialize in a specific area of expertise. Each of the three market
     segments are made up of several competitors and a clear division of labor can be seen
     as a result.
            Breakdown of Taiwan’s IC industry by upstream, midstream, downstream
          Structure         Function                       Manufacturing Process
          Upstream           Design      Logic design, circuit design, layout
                            Mask and     Oxidation, mask house, etching, ion diffusion, ion
          Midstream          Wafer       implant, CVD (chemical vapor deposition), metal
                           fabrication   sputtering, wafer inspection
                          Packing and
         Downstream                      Die saw, pick and place, wire bonder, tray, test
                             testing

   c. Product development trend
    (I). Low-power
      Given the increasing popularity of portable devices and the demand for energy
      efficiency, the Company will engage in the R & D of products that consume lower
      energy.
    (II). Miniaturization and integration with wiring
      Portable imaging products need to be light, thin, short, and small. The miniaturization
      of CMOS is a major development trends.

   d. Overview of market competition

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       Competition in CMOS Image Sensor varies according to the charateristics of products.
       For standard CMOS Image Sensor, companies are from United States, Korea, Japan,
       Taiwan, and China. These companies include Aptina, Samsung, Omnivision, Hynix,
       Pixelplus, Galaxycore, and etc. This is a fierce market due to the large number of
       competitors. On the other hand, the competition in applied CMOS Image Sensor differs
       with application of products. Since this market has higher barrier of entrance and
       characteristics of applied CMOS Image Sensor is distinctively different from the
       standard product, the competition is relatively fair.


(3) Technology and R&D：
    a. Summary of R&D expenses:
                                                                               Unit：NT$ 1,000
                        Year                                               Jan.1, to Mar. 31
                                      2011                  2012
        Item                                                                     2013

           R&D expenses              480,849               441,368             199,259



    b. R&D accomplishments
        (1) Power-saving/ high performance wireless mouse device.
        (2) TOG and Gaming mouse device.
        (3) OFM (Optical Finger Mouse) Sensor
        (4)MOT Sensor or game console
        (5) MOT Sensor for Smart TV remote controller
        (6) QVGA/VGA/HD sensors
        (7) VGA SOC for PC/NB camera
        (8) Optical touch solutions
        (9) DMS(Distance Measure Sensor related technologies and products
        (10) Human Sensing Device/Face recognition
        (11) Microminiaturization Gesture Recognition IC
        (12) Wireless mouse sensor with ultra-low power (<1mA)
        (13) Capacitive Touch IC

(4) Short-term and long-term business development plans:
    a. Short-term development plan
       (I) Marketing strategy
          I-1. Expanding the current marketing channels and exploit potential markets.
          I-2. Aggressively developing relationships with overseas and domestic customers on
               optical mice, PC/NB cameras, and other application products to increase market
               share.
          I-3. Strengthen customer service to current customers in order to maintain long-term
               relationships.

       (II) Manufacturing strategy

          II-1. Strengthen relationships with wafer foundries, packaging and testing
                companies, and other partners both domestically and abroad to secure
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              sufficient capacity.
        II-2. Establish information systems connected to downstream packaging and testing
              plants in order to monitor and control production quantity and progress.

      (III) Product strategy

        III-1. Continue to develop high potential products, such as small, high-resolution,
               and low-power image sensor components and products with human-machine
               interfaces that utilize CMOS image sensors as the input device.
        III-2. Continue to integrate circuit and interface in order to improve the added value
               of image sensor IC and its application.


      (IV) Business strategy
        IV-1. Aggressively expand the product line and maintain competitive advantage
              through superior technology and cost control.
        IV-2. Aggressively implement advanced manufacturing process and expand research
              and development in advanced products with high technology.
        IV-3. Aggressively develop channels abroad.

   b Long-term development plan
      (I) Marketing strategy
        I-1. Expand sales channels and strengthen market research (consumption,
              manufacturing, product trends). Develop strategies that meet international
              trends in order to raise awareness and market share.
        I-2. Aggressively develop professional sales personnel, improve ability for
              international marketing, and develop sales partnerships with world-class
              international companies.
        I-3. The ultimate goal is to become a globally recognized brand with a strong global
              sales network.
      (II). Manufacturing strategy
        II-1. Provide a timely, precise, and complete virtual manufacturing environment
              through stable outsourcing partnerships with manufacturers.
        II-2. Continue to maintain cost competitive advantage through adopting advanced
              manufacturing process and cost reduction.
        II-3. Maintain strong working relationships with outsourcing partnerships to ensure
              that we maintain a stable level of production capacity.
      (III) Product strategy
        III-1. Maintain technological advantages through continual investment in research
               and development of next-generation products.
        III-2.Maintain market-leading positions for the existing product lines through
               advancing technology capabilities.
        III-3.Increase the density of IC components, increase the development ratio of
               mixed-signal ICs, and realize system-on-a-chip technology in order to
               maintain product line’s competitive advantage. Maintain high levels of growth
               through continual product innovation.
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           (IV) Business strategy
               Integrate marketing, manufacturing, and product strategy to improve overall
               business operations to expand business scale. We aim to become an internationally
               recognized IC design company.

2. Market and sales overview
    (1) Market analysis
         a. Main products by area:
                                                                                     Unit：NT$ 1,000
                                 Year                2011                        2012
           Region                           Amount          %          Amount             %
           Domestic Sales                     334,913        10.41        264,103            8.00
           Export Sales                     2,882,926        89.59      3,039,084           92.00
           合 計                              3,217,839       100.00      3,303,187          100.00
            Note: expressed in net sales.
         b. Main competitors and market share:
           PixArt’s main competitors for its various products, For CMOS Sensor product, include
           OmniVision, Aptina, Hynix, Samsung, SETi, Galaxycore, Pixelplus etc. For mouse
           product, include EMC, Sunplusit, Apexone, Atlab etc. For Optical touch product,
           include Nextwindow etc. For DSP controller, include Sonix, Vimicro etc. PixArt is
           considered one of the leaders in CMOS image sensor market in terms of CMOS-related
           products, such as mice, games, and optical touch.

         c. Supply and demand outlook and growth
           The Company’s primary products are mouse products, game consoles and optical touch
           devices. The personal computer market saw a decline in 2012 against the 2011 as a
           result of the increasing popularity of tablet computers and smart phones. The mouse
           product market was also impacted by the unfavorable factors and declined against the
           previous year. It was fortunate that due to the continuous improvement in the
           Company’s market share in the mouse product market, we enjoyed shipment of over
           200 million computer mice despite the unfavourable conditions, representing a growth
           of 9.5% against the previous year. We trust that the market will sustain growth in 2013.
           The games production line experienced declining operating revenue in 2012 as a result
           of our clients’ poorer sales performance. Improvements on the games sector of our
           business this year will be dependent on our client’s sales performance. The Company’s
           optical touch business expects to benefit from the boosts in the demand for PC touch
           devices as a result of the successful launch of Windows 8 if we were able to gain
           successful accreditation.


         d. Competitive advantages
           (I). Stable material supply
              The Company maintains an excellent working relationship with United
              Microelectronics Corp. (UMC). The Company and UMC have forged a strong
              partnership after years of working together. The Company also benefits from stable
              supplies through the support of other packaging and testing companies.

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      (II). Professional and experienced
        The Company has a professional and experienced management team and focuses
        on our core business. The team is well versed in industry changes, product
        development, research and manufacturing processes, marketing, among other
        areas.
      (III). Diverse product lines
        The Company’s products lines include optical mouse, PC/NB cameras, mobile
        handset cameras, gaming and toys, etc. and we can provide a lot of products for
        our customers.
      (IV) Patent Deployment
        The Company is actively pursuing the filing for the various patents. In 2012, we
        were ranked the 20th and 29th among other domestic companies in patent invention
        and patent filing, respectively. Our goal is to establish the barriers for entry by
        competitors through patent deployment.

   e. Positive and negative factors in our long-term development and coping strategies：
     (I). Positive factors
       I-1.   CMOS technology applications range from information, communication, to
              consumer products which will help diversify the Company’s exposure to
              specific industries.
       I-2.   Electronic product manufacturing is centered in the Greater China area, thus
              Taiwan has a natural competitive advantage over European and American
              companies in this industry.
       I-3.   The Company maintains an excellent working relationship with UMC. The
              Company benefits from stable supplies through the support of UMC and
              packaging and testing companies.

      (II). Negative factors and our coping strategy
       II-1. The negative factors facing the industry are: over-competition, threats from
             DRAM companies, and pricing pressure. We aim to counter these factors by
             aggressively investing in research and development, shortening the product
             cycle, establishing technological entry-barriers, strengthening customer
             service, maintaining the current customer base, and actively lowering our
             cost.
       II-2. The quality of the CMOS image sensor still very much depends on the wafer
             foundry’s manufacturing technology and capability. Image sensor quality
             will be limited if wafer foundries can not make a breakthrough. The
             Company has an excellent working relationship with UMC and will continue
             to work closely with UMC’s engineers in product development to enhance
             products’ competitiveness.
       II-3. Patent litigation has become a basic strategy for international high-tech
             companies. There is a certain level of uncertainty with patent “warfare” due
             to the lack of transparency in the patent application process. The Company
             has taken an aggressive stance in this arena. When appropriate, the Company
             will engage in patent authorization or patent licensing in order to protect the

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                         Company’s portfolio of patents.。

      (2) Applications of main products and manufacturing processes：
          a. Main products’ applications:

                         Product line                            Applications
                                             Optical mouse, game consoles, Optical touch solutions,
               CMOS image sensor
                                             PC/NB Camera, mobile handset camera, consumer
               components
                                             imaging toys

          b. Manufacturing process of main products:
             (I) Flowchart of the product’s manufacturing process:
                  The Company is an IC design house. Wafer fabrication is outsourced to wafer
                  foundries. After preliminary testing in foundries, wafers are sent to be packaging
                  companies to package the chip. The packaged ICs will be then sent to testing
                  companies for thoroughly functional testing. The manufacturing process is as
                  follows:

             Raw                 Raw                               Raw
            material            material                          material




          Quartz glass           Wafer                        Lead Frame/PCB




                                Wafer            Water                               Package
                                                                   Packag                                 Finished
CAD          Mask               Foundry          Testing
                                                                     ing
                                                                                     Testing
                                                                                                          Goods


             (II) Flowchart of design process
                  IC products originate from IC design. With tools such as CAD, IC design
                  companies can design ICs by circuit design to meet customers’ or their own
                  specifications.
                                                                                               Tape out
                            IC design        Simulation       Layout           CAD




             (III) Mask process
                  Completed IC design is sent to mask companies in the form of database to product
                  masks. The process requires four steps: exposure, etching, inspection, and shipping.
                  The completed masks are sent to wafer foundries for manufacturing.

             (IV) Wafer manufacturing process
                  Wafer manufacturing is a sophisticated process that involves thin film deposition,
                  etching, ion implanting and diffusion etc. The product is ready for shipment after it
                  passes the wafer acceptance test (WAT).

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             (3) Supply of raw materials：
                   a. Main raw material: wafers.
                   b. Main supplier: United Microelectronics Corporation (UMC).
                   c. Current market status: At present, UMC, TSMC and Global Foundry are world leading
                      foundries. UMC is the Company’s major supplier and the supply has been stable.

             (4) Major Suppliers and Customers：
                      a. Major Suppliers
                                                                                                                                          Unit：NT$ 1,000


                              2011                                                      2012                                                  2013 Q1
                             Proportion                                                 Proportion                               Proportion
                    Amount of Total                                                      of Total                       Amount of Total
           Supplier                                  Supplier                   Amount Purchases              Supplier
  Ranking           Purchase Purchases Relations                                                   Relations            Purchase Purchases Relations
            Name               for the                Name                     Purchased for the               Name                for the
                       d                                                                                                    d
                             Year (%)                                                    Year (%)                                Year (%)
    1                                     Related                                                   Related
          UMC        388,339 51.47% party in UMC                                 229,690 23.12% party in UMC             54,491 25.33%      Note
                                         substance                                                 substance
    2 Supplier A 287,182 38.06%              -     Supplier A                    317,640 31.97%        -     Supplier A 91,091 42.35%          -
    3 Supplier B           -           -     -     Supplier B                    153,290         15.43%          -        Supplier B      -              -           -
           Others         79,006       10.47%                     Others         292,796         29.48%                   Others       69,518      32.32%

           Total         754,527 100.00%                          Total          993,416 100.00%                          Total        215,100 100.00%


                        Note: The subsidiary of the related party resigned from the position as the Company’s institutional
                             director in February 2013 and was thus no longer a related party.

                        The Company’s main raw material is wafer. Due to scattered purchasing sources being affected by
                        product demand changes, the weighted stock also changes.



                      b. Major Customers over the Last Two Years:
                                                                                                                                          Unit：NT$ 1,000

                               2011                                                     2012                                                  2013 Q1

                                       Proportionof                                            Proportionof                                       Proportionof
           Customer                                                 Customer                                               Customer
Ranking                  Amount        TotalSales for Relations                  Amount        TotalSales for Relations                Amount     TotalSales for Relations
            Name                                                     Name                                                   Name
                                       theYear(%)                                              theYear(%)                                         theYear(%)

  1       CustomerA       1,005,279          3124       －         CustomerA      1,347,556           40.80      －         CustomerA    377,546          41.47      －
  2       CustomerB         391,035          12.15      －         CustomerB                -              -     －         CustomerB       -               -        －
  3       CustomerC                -              -     －         CustomerC                -              -     －         CustomerC    104,108          11.43      －
  4       CustomerD                -              -     －         CustomerD                -              -     －         CustomerD    92,463           10.16      －
          Others          1,821,525          56.61                Others         1,955,631           5920                 Others       336,359          36.94

          Total           3,217,839         100.00                Total          3,303,187          100.00                Total        910,476      100.00


                        The Company’s product lines changed due to alternation in market demand. Therefore, sales to
                        customers change as well. Yet, there is no significant change to the Company’s major customers.




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    (5) Production Volume and Value over the Last Two Years：
                                                                                                             Unit: 1,000pcs/NTD1,000
                                       Year                       2011                                            2012
                                              Production Production           Production     Production      Production       Production
         Main Product                          Capacity   Volume                Value         Capacity        Volume            Value

                  CMOS Image Sensor              -            248,172          1,921,215          -              274,329       1,930,337
           Note: As a result of outsourcing wafer manufacturing and IC packaging and testing, the production
               capacity is not applicable.

    (6) Sales Volume and Value over the Last Two Years：(Expressed in net sales)
                                                                                                             Unit: 1,000pcs/NTD1,000
                             Year                     2011                                            2012

                                     Domestic Sales          Export Sales          Domestic Sales            Export Sales
         Main Product               Volume    Value     Volume        Value      Volume      Value     Volume            Value
         CMOS Image Sensor          29,696    306,698 205,304 2,859,011 23,887              251,990    215,802        3,031,110

         Others                       ─       28,215         77       23,915        ─        12,113          ─             7,974

         Total                      29,696    334,913 205,381 2,882,926 23,887              264,103    215,802        3,039,084



3. Employees
                                     Year               2011                            2012                 As of Mar. 31, 2013
                        R&D                             129                              162                        163
                        Managerial,
    Number of                                                62
                        marketing & sales                                                   67                              63
    Employees
                        Manufacturing                      7                                10                              10
                        Total                            198                               239                             236
    Average age                                           35                                35                              35
    Average years of service                             3.89                              4.07                            4.23
                   Doctoral                              8%                                6%                              6%
                   Master                                62%                               64%                             64%
    Education      University &
                                                         29%
                   College                                                                 29%                             29%
                   High school                           1%                                 1%                              1%

4. Environmental spending disclosure
    Since the Company is a IC design house that does not engage in any in-house manufacturing,
    there is no possibility of pollution. The Company has not had any losses as a direct result of
    pollution for the recent year and this year till the date of the printing of this annual report.

5. Labor relations
    (1)Employee welfare, continuing education, training, retirement schemes
         a. Employee welfare
            (I)   PixArt has established an employee welfare committee, which is responsible for
                  supervising and implementing employee welfare related issues.
            (II) PixArt has in place group insurance to supplement the labor insurance. The
                  employees, as well as their spouses, parents, and children are eligible for group
                  insurance coverage.
            (III) The Company offers health checks for new employees and annual health checks

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                   for all current employees. All employees participate in labor insurance and
                   national health insurance. These benefits are implemented in accordance with
                   related policies and procedures.
         b. Continuing education and training
            The Company has established procedures governing education and training with the
            goal of elevating its human resources and competitive advantage. Employees are
            encouraged to attend various training sessions and seminars both domestically and
            abroad. The Company firmly believes that continuing education and training is an
            important part of sustainable development.
         c. Retirement scheme and implementation
            The Company’s retirement scheme was established in accordance with the Labor Law.
            The Company established its Supervisory Committee on Labor Retirement Funds in
            2000. The committee is responsible for setting aside the labor’s retirement reserve fund
            each month and depositing the funds in its name to a designated account at the Bank of
            Taiwan. The management and spending of the funds shall be in compliance with
            regulations for the Labor Pension Fund. Starting from July 1st, 2005, the Company is
            required to set aside the labor’s retirement reserve into the individual labor pension
            accounts for employees who chose the New System.
         d. Labor relations
            The Company has strived for harmonious labor relations. In order to accomplish that,
            the Company values employee welfare and a comfortable working environment.
            Furthermore, the Company has kept the channel of communication open and
            employees can air their opinions freely with communication mechanisms in place. Thus
            far, there have been no disputes between the company and labors
    (2) Losses for disputes between company and labor from the past year till the date of printing
         of this annual report:
         Former employees filed a civil action against trusted bank and Company for trusted bonus
         stock and cash. Taiwan High Court has ruled in favor of Company and the trusted bank.
         The case is pending in Supreme Court. The Company performed based on the Bonus
         Stock Holding Agreement signed by the parties. Plaintiff’s claim should be no merits. The
         case has no material impact on Company’s financial status.
6.Important Contract
     Nature of
        the            Counter Party            Contract Period                 Description             Restrictive term
     Agreement
                                                                                                        Terms
    Development Nintendo Co., Ltd.,              Since 2006.5.17      Jointly develop pointing device   compliance
                                                                                                        required.
                                                                                                        Terms
    Development Nintendo Co., Ltd.,               Since 2007.4.7      Jointly develop pointing device   compliance
                                                                                                        required.
    Patent and                                                        Procure technology and patent     Within the
                 SMART Technologies         According to the contract license for the optical touch     scope of usage
    technology   ULC                                                                                    according to the
    Licensing                                                         system integrator
                                                                                                        term
                 Avago Technologies
                 General IP(Singapore Pte.                                                              Within the
    Patent and   Ltd.,                                                                                  scope of usage
    Technology                             According to the contract Cross license                      according to the
    Licensing    Avago Technologies
                 ECBU IP (Singapore) Pte.                                                               term
                 Ltd.

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                                          English Translation of Financial Statements Originally Issued in Chinese
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                                                    Notes To Financial Statements (Continued)

   G. TOTAL PURCHASES FROM OR SALES TO RELATED PARTIES OF AT LEAST NT$100 MILLION OR 20% OF THE PAID-IN
      CAPITAL
      FOR THE YEAR ENDED DECEMBER 31, 2012
                                                                                                                                         Notes/Accounts Payable or
                                                                        Transaction Details                      Abnormal Transaction
                        Counter                                                                                                                  Receivable
        Company Name                Related Party
                         -party                        Purchases/      Amount           % to       Payment                   Payment    Ending Balance        % to
                                                                                                                Unit Price
                                                         Sales        (NT$’000)        Total          Terms                    Terms      (NT$’000)           Total

                                   Related party                       229,690
        The Company      UMC                            purchase                       23.12        45 days          -          -          (28,182)           (9.57)
                                    in substance                       (Remark)



       Remark: The total cost of wafer purchased from UMC amounted to NT$249,157 thousand, of which NT$229,690 thousand were recorded
               under raw materials and NT$19,467 thousand under R&D expenses.


   H. Receivable from related parties amounting to at least NT$100 million or 20% of the paid-in capital: None.


    I. Information about derivatives of investees over which the Company has a controlling interest: None.

(2) The following are additional disclosures for the Company’s affiliates:




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                                       English Translation of Financial Statements Originally Issued in Chinese
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                                                Notes To Financial Statements (Continued)

A. NAMES, LOCATIONS, AND RELATED INFORMATION OF INVESTEES OVER WHICH THE COMPANY EXERCISES
   SIGNIFICANT INFLUENCE
   AS OF DECEMBER 31, 2012                                          Monetary unit: US dollars/NT thousand dollars/MYR dollars
                                                                             Original Investment
                                                                                                          Balance as of December 31, 2012       Net Income
                                                                             Amount (NT$’000)                                                                    Equity in
                                                       Main Businesses                                                                           (Losses) of
  Investor Company   Investee Company       Location                            December 31,                                        Carrying                   the Earnings
                                                        and Products                                                  Percentage of             the Investee
                                                                                                        Shares                        Value                     (NT$’000)
                                                                              2012          2011                      Ownership (%)              (NT$’000)
                                                                                                                                    (NT$’000)
                     PixArt International                 Investment
                                             BVI                              86,905        60,057     2,825,000          75.35       28,032     (22,912)       (16,817)
                          (BVI) Ltd.                       activities
                     PixArt International                 Investment
                                            SAMOA                            308,134        33,884    10,330,000         100.00       60,441    (210,845)       (210,845)
                        (SAMOA) Ltd.                        activities
   The Company
                         Yuan-Xiang                       Investment
                                             Taiwan                          400,000       400,000    40,000,000         100.00      241,720    (122,609)      (122,609)
                      Investment Corp.                      activities
                         Yuan-Feng                        Investment
                                             Taiwan                           50,000        50,000     5,000,000         100.00       35,492      (3,130)         (3,130)
                      Investment Corp.                     activities
                     PixArt International                 Investment
                                              BVI                             26,736        26,736        924,000         24.65        9,168     (22,912)      (Remark 1)
                          (BVI) Ltd.                       activities
    Yuan-Xiang
                         PrimeSensor
  Investment Corp.                           Taiwan        IC design          65,865        30,000     4,904,033          37.24       33,417     (42,564)      (Remark 1)
                       Technology Inc.
                          Yuan-Yau
                                             Taiwan      Manufacture          20,000        20,000     2,000,000         100.00       19,753        (143)      (Remark 1)
                       Technology Inc.
     Yuan-Feng           PrimeSensor
                                             Taiwan        IC design          28,412        15,000     2,000,000          15.19       13,628     (42,564)      (Remark 1)
  Investment Corp.     Technology Inc.
                          YuanSheng
                                                          Investment                 -
                          Investment        SAMOA                                            6,077                1      100.00             -         27       (Remark 1)
    PrimeSensor                                            activities      (Remark 2)
                        (SAMOA) Ltd.
   Technology Inc.
                         PrimeSensor
                                                          Investment
                          Technology        SAMOA                             14,155        11,163        460,000        100.00         422       (3,622)      (Remark 1)
                                                           activities
                        (SAMOA) Ltd.
 (To be Continued)


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                                          English Translation of Financial Statements Originally Issued in Chinese
                                                                 PixArt Imaging Inc.
                                                  Notes To Financial Statements (Continued)

 (Continued)
                                                                               Original Investment
                                                                                                            Balance as of December 31, 2011        Net Income
                                                                               Amount (NT$’000)                                                                   Equity in the
                                                         Main Businesses                                                                          (Losses) of the
 Investor Company       Investee Company      Location                           December 31,                       Percentage of Carrying                          Earnings
                                                          and Products                                                                               Investee
                                                                                                            Shares   Ownership      Value                          (NT$’000)
                                                                                2012          2011                                                  (NT$’000)
                                                                                                                         (%)      (NT$’000)
 PixArt International    PixArt Imaging         USA           Technical         USD                  -       10,000    100.00       31,288             2,289      (Remark 1)
   (SAMOA) Ltd.            (USA) Inc.                          Support        1,000,000
                                                              activities
                         PixArt Imaging MALAYSIA              Technical        MYR                   -   10,000,000      100.00       59,551         (31,765)     (Remark 1,
                            (Penang)                           Support       10,000,000                                                                           Remark 4)
                           SDN. BHD.                          activities
                        ePlan Technology SAMOA                Technical         USD                  -      400,000      100.00           79         (11,802)     (Remark 1)
                         (SAMOA) Ltd.                          Support         400,000
                                                              activities
 PixArt International      YuanXiang          SAMOA          Investment         USD            USD        2,824,000      100.00        11,890        (20,219)     (Remark 1)
    (BVI) Ltd.             Technology                         activities      2,824,000     1,924,000
                         (SAMOA) Ltd.
                          CMC Capital        CAYMAN          Investment         USD            USD                   -    10.30       25,283          (1,667)     (Remark 1)
                        Investments , L.P.                    activities      924,000         924,000
     YuanXiang          PixArt Japan K.K.       Japan        Technical         USD             USD             1,000     100.00        14,708            805      (Remark 1,
     Technology                                               Support         518,039         358,864                                                             Remark 3)
   (SAMOA) Ltd.                                              activities
     YuanSheng                                               Technical
                                                                                              USD
     Investment         PixArt Japan K.K.       Japan         Support                  -                             -       -                -             -     (Remark 3)
                                                                                             153,799
   (SAMOA) Ltd.                                              activities

Remark 1: Equity pick-up has been included in holding companies.
Remark 2: In May 2012, YuanSheng Investment (SAMOA) Ltd. reduced its capital and returned cash to PrimeSensor Technology Inc.
Remark 3: In February 2012, YuanSheng Investment (SAMOA) Ltd. sold PixArt Japan K.K.’s shares to YuanXiang Technology (SAMOA) Ltd. PrimeSensor Japan K.K.
          has been renamed PixArt Japan K.K. since Febuary 2012.
Remark 4: YuanXing Technology (Penang) SDN. BHD. has been renamed PixArt Imaging (Penang) SDN. BHD. since November 2012.

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            English Translation of Financial Statements Originally Issued in Chinese
                            PixArt Imaging Inc. And Subsidiaries
                                Notes To Financial Statements

1. HISTORY AND ORGANIZATION
  PixArt Imaging Inc. (the "Company") was incorporated under the Company Law of the Republic
  of China on July 13, 1998. The numbers of employees as of December 31, 2012 and 2011 were
  348 and 202, respectively. The Company is specializing in CMOS image sensors and related IC
  design, research, production, and sales.


  The Company’s shares were previously registered and traded as the “Emerging Stock” on
  Taiwan’s GreTai Securities Market (formerly known as OTC Market) starting July 2003 and
  have been listed and publicly traded on Taiwan’s GreTai Securities Market since May 2006.


2. SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES
  The consolidated financial statements were prepared in conformity with requirements of the
  Guidelines Governing the Preparation of Financial Reports by Securities Issuers and accounting
  principles generally accepted in the Republic of China (R.O.C.).


  Summary of significant accounting policies is as follows:


  General Descriptions of Reporting Entities
  (1) Overview of Consolidation
     Investees in which the Company, directly or indirectly, holds more than 50% of voting rights or less
     than 50% of voting rights but has de facto control, are accounted for under the equity method and
     consolidated into the Company’s financial statements. The consolidated entities are as follows:


     A. The parent company: PixArt Imaging Inc. (the “Company”)


     B. The consolidated subsidiaries are listed as follows:




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                       PixArt Imaging Inc. And Subsidiaries
                    Notes To Financial Statements (Continued)

 As of December 31, 2012
                                                                           Percentage of
         Investor               Subsidiary          Nature of business     ownership (%) Note
                            PixArt International
 The Company                                       Investment activities      75.35       2
                            (BVI) Ltd.
                            PixArt International
 The Company                                       Investment activities          100     -
                            (SAMOA) Ltd.
                            Yuan-Xiang
 The Company                                       Investment activities          100     -
                            Investment Corp.
                            Yuan-Feng
 The Company                                       Investment activities          100     -
                            Investment Corp.
 PixArt International       ePlan Technology       Technical Support
                                                                                  100     3
 (SAMOA) Ltd.               (SAMOA) Ltd.           activities
 PixArt International       PixArt Imaging         Technical Support
                                                                                  100     4
 (SAMOA) Ltd.               (USA), Inc.            activities
                            PixArt Imaging
 PixArt International                              Technical Support
                            (Penang) SDN.                                         100     5
 (SAMOA) Ltd.                                      activities
                            BHD.
 Yuan-Xiang Investment      PrimeSensor
                                                   IC design                  37.24       1
 Corp.                      Technology Inc.
 Yuan-Xiang Investment      PixArt International
                                                   Investment activities      24.65       2
 Corp.                      (BVI) Ltd.
 Yuan-Xiang Investment      Yuan-Yau
                                                   Manufacture                    100     -
 Corp.                      Technology Inc.
 Yuan-Feng Investment       PrimeSensor
                                                   IC design                  15.19       1
 Corp.                      Technology Inc.
                            YuanXiang
 PixArt International
                            Technology             Investment activities          100     -
 (BVI) Ltd.
                            (SAMOA) Ltd.
                            YuanSheng
 PrimeSensor Technology
                            Investment             Investment activities          100     -
 Inc.
                            (SAMOA) Ltd.
                            PrimeSensor
 PrimeSensor Technology
                            Technology             Investment activities          100     -
 Inc.
                            (SAMOA) Ltd.
 YuanXiang Investment                              Technical Support
                            PixArt Japan K.K.                                     100     6
 (SAMOA) Ltd.                                      activities

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       English Translation of Financial Statements Originally Issued in Chinese
                       PixArt Imaging Inc. And Subsidiaries
                    Notes To Financial Statements (Continued)

 As of December 31, 2011
                                                                           Percentage of
         Investor                Subsidiary         Nature of business     ownership (%) Note
                            PixArt International
 The Company                                       Investment activities      67.57       2
                            (BVI) Ltd.
                            PixArt International
 The Company                                       Investment activities          100     -
                            (SAMOA) Ltd.
                            Yuan-Xiang
 The Company                                       Investment activities          100     -
                            Investment Corp.
                            Yuan-Feng
 The Company                                       Investment activities          100     -
                            Investment Corp.
 Yuan-Xiang Investment      PrimeSensor
                                                   IC design                  16.13       1
 Corp.                      Technology Inc.
 Yuan-Xiang Investment      PixArt International
                                                   Investment activities      32.43       2
 Corp.                      (BVI) Ltd.
 Yuan-Xiang Investment      Yuan-Yau
                                                   Manufacture                    100     -
 Corp.                      Technology Inc.
 Yuan-Feng Investment       PrimeSensor
                                                   IC design                      8.06    1
 Corp.                      Technology Inc.
                            YuanXiang
 PixArt International
                            Technology             Investment activities          100     -
 (BVI) Ltd.
                            (SAMOA) Ltd.
                            YuanSheng
 PrimeSensor Technology
                            Investment             Investment activities          100     -
 Inc.
                            (SAMOA) Ltd.
                            PrimeSensor
 PrimeSensor Technology
                            Technology             Investment activities          100     -
 Inc.
                            (SAMOA) Ltd.
 YuanXiang Technology                              Technical Support
                            PixArt Japan K.K.                                     70      6
 (SAMOA) Ltd.                                      activities
 YuanSheng Investment                              Technical Support
                            PixArt Japan K.K.                                     30      6
 (SAMOA) Ltd.                                      activities




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          English Translation of Financial Statements Originally Issued in Chinese
                          PixArt Imaging Inc. And Subsidiaries
                         Notes To Financial Statements (Continued)

   Note1： Although the Company held less than 50% of voting rights of PrimeSensor
             Technology Inc in 2011, the Company held all seats of the board of PrimeSensor
             Technology Inc. And the Company held more than 50% of voting rights of
             PrimeSensor Technology Inc. in 2012. Accordingly, PrimeSensor Technology Inc.
             was included as a subsidiary in the Company’s consolidated financial statements
             for the years ended December 31, 2011 and 2012.


   Note2： The Company and its subsidiary, Yuan-Xiang Investment Corp. acquired PixArt
             International (BVI) Ltd. ’s new shares in 2012 and 2011 in the amounts of
             NT$42,850 thousand and NT$26,736 thousand, respectively. The company and
             Yuan-Xiang Investment Corp. ownership of PixArt International (BVI) Ltd. has
             become 75.35% and 24.65%, respectively, after the share acquisition.


   Note3： PixArt International (SAMOA) Ltd. established ePlan Technology (SAMOA) Ltd.
             in February 2012.


   Note4： PixArt International (SAMOA) Ltd. established PixArt Imaging (USA), Inc. in
             January 2012.


   Note5： PixArt International (SAMOA) Ltd. established Yuang Xiang Technology
             (Penang) SDN. BHD. in June 2012, and the Company has been renamed PixArt
             Imaging (Penang) SDN. BHD. since November 2012.


   Note6： On February, 2012, YuanSheng Investment (SAMOA) Ltd. disposed PixArt
             Japan K.K.’s shares to YuanXiang Technology (SAMOA) Ltd.; PrimeSensor
             Japan K.K. has been renamed PixArt Japan K.K. since February 2012.


   C. All subsidiaries of the Company have been included as consolidated entities in the
      consolidated financial statements.


(2) Principles of Consolidation
   A. The consolidated financial statements were prepared in accordance with SFAS No. 7.
      The transactions between the consolidated entities were appropriately eliminated in the
      consolidated financial statements.



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          English Translation of Financial Statements Originally Issued in Chinese
                          PixArt Imaging Inc. And Subsidiaries
                         Notes To Financial Statements (Continued)

   B. Investees in which the Company and subsidiaries hold more than 50% of voting rights,
      including those that are exercisable or convertible, are accounted for under the equity
      method and shall be consolidated, since the Company and subsidiaries are considered
      to possess control. An entity shall also be consolidated if the Company owns any of the
      following :
       a. power over more than half of the voting rights by virtue of an agreement with other
          investors;
       b. power to govern the financial, operating and human resources policies of the entity
          under a statute or an agreement;
       c. power to appoint or remove the majority of the members of the board of directors or
          equivalent governing body and control of the entity is by that board or body; or
       d. power to cast the majority of votes at meetings of the board of directors or equivalent
          governing body and control of the entity is by that board or body;
       e. other indications of control possession.

(3) Cash Equivalents
    Cash equivalents are short-term, highly liquid investments that are readily convertible to known
    amounts of cash, and so near their maturity date that they are subject to an insignificant risk of
    changes in value from fluctuations in interest rates. Commercial papers, negotiable certificates of
    deposit, and bank acceptances with original maturities of three months or less are considered to be
    cash equivalents.

(4) Foreign Currency Transactions and Translation of Financial Statements denominated in
    Foreign Currency
     A. The Company maintains its accounting records in New Taiwan dollars ("NT Dollars" or
        "NT$"), the national currency of the R.O.C. Transactions denominated in foreign
        currencies are recorded in NT Dollars using the exchange rates in effect at the dates of
        the transactions. Non-derivative transactions denominated in foreign currencies are
        recorded in NT Dollars using the exchange rates in effect at the dates of the
        transactions. When a transaction is settled in a subsequent accounting period, the
        monetary assets and liabilities denominated in foreign currencies are remeasured on
        the balance sheet date using the exchange rates prevailing as at that date, with the
        resulting exchange gains or losses included in earnings.




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           English Translation of Financial Statements Originally Issued in Chinese
                           PixArt Imaging Inc. And Subsidiaries
                         Notes To Financial Statements (Continued)

12. SEGMENT FINANCIAL INFORMATION
   1. General information：
      The Company mainly engages in COMS image sensor and related IC design, research,
      production, and sale activities. Its chief operating decision maker reviews the overall
      operating results to make decisions about resources to be allocated to and evaluates the
      overall performance. Therefore, the Company and subsidiaries are aggregated into a single
      segment.


   2. Operations in different geographic areas:
      (1)Revenue from customers：
                                            For the year ended December 31,
                                         2012                              2011
                                        Amount                           Amount
            Country                   (NT$’000)                         (NT$’000)
            Taiwan                     2,187,293                         1,503,774
      China (Hong Hong)                1,039,469                         1,525,261
             Japan                       245,448                           391,790
           American                         2,861                             10,280
             Other                        34,866                              18,264
             Total                     3,509,937                         3,449,369


       (2) Non-current assets
                                      2012.12.31                       2011.12.31
                                        Amount                           Amount
            Country                   (NT$’000)                         (NT$’000)
            Taiwan                       865,314                           655,667
             Japan                                85                            504
           American                         8,062                                  -
           Malaysia                       15,464                                   -
             Total                       888,925                           656,171




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                                                                             VIII、Special Notes
    1. Summary of Affiliated Enterprises
             (1) Organization Chart


                                                                              PixArt Imaging
                                                                                   Inc.



                        100%
                                                                         75.35%                          100%                                      100%


                     PixArt    International                              PixArt Intertional               Yuan-Xiang                                    Yuan-Feng
                     (SAMOA) Ltd.                                                                                                                     Investment Corp.
                                                                          (BVI) Ltd.                       Investment Corp
                                                                                               24.65%                          37.24%                 15.19%
                                                                             100%                            100%
    100%                100%                        100%

ePlan   Technology      PixArt     Imaging        PixArt       Imaging     YuanXiang Technology          Yuan Yao                       PrimeSensor
(SAMOA) Ltd.            (USA), Inc.               (Penang) SDN. BHD.       (SAMOA) Ltd.                  Technology Inc.                Technology Inc.


                                                                                  100%                                  100%                                      100%


                                                                           PixArt Japan K.K.                      YuanSheng      Investment           PrimeSensor        Technology
                                                                                                                  (SAMOA) Ltd.                        (SAMOA) Ltd.




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(2) Information on Affiliated Enterprises：                                                             Dec.31 2011
                                                Date of                                Paid-in
              Company name                                          Address                              Major business
                                             incorporation                       (Authorized)capital
 PixArt International (BVI) Ltd.                93/8/11              B.V.I.        US$ 3,749,000         Investment
 PixArt International (SAMOA) Ltd.              93/8/11            SAMOA          US$ 10,330,000         Investment
 Yuan-Xiang Investment Corp                     97/4/25             Taiwan        NT$ 400,000,000        Investment
 Yuan-Feng Investment Corp.                     97/4/25             Taiwan        NT$ 50,000,000         Investment
 PrimeSensor Technology Inc.                    97/5/28             Taiwan        NT$ 131,689,180         IC design
 Yuan Yao Technology Inc.                       100/9/8             Taiwan        NT$ 20,000,000        Manufacturing
 YuanXiang Technology (SAMOA)Ltd.               98/1/16            SAMOA            US$ 2,824,000        Investment
 YuanSheng Investment (SAMOA) Ltd.              98/1/16            SAMOA               US$ 1             Investment
 ePlan Technology (SAMOA ) Ltd.                101/2/17            SAMOA             US$ 400,000        Technological services
 PixArt Imaging (USA), Inc.                    101/1/31              USA            US$ 1,000,000       Technological services
 PixArt Imaging (Penang) SDN. BHD.              101/1/9            PENANG         MYR 10,000,000        Technological services
 PixArt Japan K.K.                              98/2/27             JAPAN          JPY 50,000,000       Technological services
 PrimeSensor Technology (SAMOA)Ltd.            98/12/31            SAMOA            US$ 460,0000          Investment

(3) Data for Common Shareholders of Treated as Controlled Companies and Affiliates: None.

(4) Business of PixArt and its Affiliated Enterprises:
     The major businesses of our company and related subsidiary are CMOS image sensor
     related IC design and other investment business, please refer to (2) Major business of
     Information on affiliated enterprises.

(5) Directors, Supervisors and President of Affiliated Enterprises:：
                                                                                                         Dec.31 2011
                                                                                                 Shareholding
               Company Name                 Title             Name and Representative
                                                                                              Shares         (%)
                                           Director  PixArt Imaging Inc
    PixArt International (BVI) Ltd.                                                          2,825,000          75.35 %
                                                     (Representative :Sen-Huang Huang )
                                           Director PixArt Imaging Inc
    PixArt International (Samoa) Ltd.                                                       10,330,000           100%
                                                      (Representative :Sen-Huang Huang )
                                           Director PixArt Imaging Inc.
                                                     (Representative:Sen-Huang Huang)
                                           Director PixArt Imaging Inc.
                                                     (Representative:Chia-Lin Chang)
    Yuan-Xiang Investment Corp.            Director PixArt Imaging Inc.                     40,000,000           100％
                                                     (Representative: Mei-Wei Lo)
                                          Supervisor PixArt Imaging Inc.
                                                     (Representative: Hsiu-Chen Tsai)
                                           President Sen-Huang Huang
                                           Director PixArt Imaging Inc.
                                                     (Representative:Sen-Huang Huang)
                                           Director PixArt Imaging Inc.
                                                     (Representative:Chia-Lin Chang)
    Yuan-Feng Investment Corp.             Director PixArt Imaging Inc.                      5,000,000           100%
                                                     (Representative: Mei-Wei Lo)
                                          Supervisor PixArt Imaging Inc.
                                                     (Representative: Hsiu-Chen Tsai)
                                           President Sen-Huang Huang
                                           Director Yuan-Xiang Investment Corp.
                                                     (Representative:Sen-Huang Huang)
                                           Director Yuan-Xiang Investment Corp.
                                                     (Representative: Wen-Cheng Yen)
    PrimeSensor Technology Inc.            Director Yuan-Xiang Investment Corp.              4,904,033          37.24%
                                                     (Representative: Mei-Wei Lo)
                                          Supervisor Yuan-Xiang Investment Corp.
                                                     (Representative: Hsiu-Chen Tsai)
                                           President Sen-Huang Huang
    Yuan Yao Technology Inc.               Director Yuan-Xiang Investment Corp.              2,000,000           100%

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                                                  (Representative:Sen-Huang Huang)
                                        Director  Yuan-Xiang Investment Corp..
                                                  (Representative: Wei-Chung Wang)
                                        Director Yuan-Xiang Investment Corp.
                                                  (Representative: Mei-Wei Lo)
                                       Supervisor Yuan-Xiang Investment Corp.
                                                  (Representative: Hsiu-Chen Tsai)
                                        President Sen-Huang Huang
   YuanXiang Technology (SAMOA)Ltd.     Director PixArt International (BVI) Ltd.
                                                                                      2,824,000    100%
                                                  (Representative:Sen-Huang Huang)
   YuanSheng Investment (SAMOA) Ltd.    Director PrimeSensor Technology Inc.
                                                                                          1        100%
                                                  (Representative:Sen-Huang Huang)
   ePlan Technology (SAMOA) Ltd.                  PixArt International (Samoa) Ltd.
                                        Director                                       400,000     100%
                                                  (Representative:Sen-Huang Huang)
   PixArt Imaging (USA), Inc.                     PixArt International (Samoa) Ltd.
                                        Director                                       10,000      100%
                                                  (Representative:Sen-Huang Huang)
   PixArt Imaging (Penang) SDN. BHD.              PixArt International (Samoa) Ltd.
                                        Director                                      10,000,000   100%
                                                  (Representative:Sen-Huang Huang)
   PixArt Japan K.K                     Director Lucas Oliver-Frost
                                        Director Sen-Huang Huang
                                                                                         －          －
                                        Director Hsiu-Chen Tsai
                                       Supervisor Mei-Wei Lo
   PrimeSensor Technology                         PrimeSensor Technology Inc.
                                        Director                                       460,000     100%
   (SAMOA )Ltd.                                   (Representative:Sen-Huang Huang)




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                                  Representation Letter


The entities included in the consolidated financial statements as of December 31, 2012 and
for the year then ended prepared under the R.O.C.’s Statement of Financial Accounting
Standards No.7 (referred to as “Consolidated Financial Statements”) are the same as the
entities to be included in the combined financial statements of the Company, if any to be
prepared, pursuant to the Criteria Governing Preparation of Affiliation Reports, Consolidated
Business Reports and Consolidated Financial Statements of Affiliated Enterprises (referred
to as “Combined Financial Statements”). Also, the footnotes disclosed in the Consolidated
Financial Statements have fully covered the required information in such Combined
Financial Statements. Accordingly, the Company did not prepare any other set of Combined
Financial Statements than the Consolidated Financial Statements.


Very truly yours,




                                                         PixArt Imaging Inc.


                                                         Chairman: Sen-Huang Huang


                                                         March 19, 2013




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2. Status of Private Placement of Securities：None


3. Acquisition or Disposal of PixArt’s shares by Subsidiaries：None



4. Other Necessary Supplements: None


5. Events regulated in Article 36-2-2 of the Securities and Exchange Laws that will
   materially affect shareholders’ equity or the share price: None




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      PixArt Imaging Inc.


      Chairman：Sen-Huang Huang
